Case 1:17-cv-24127-DPG Document 45 Entered on FLSD Docket 05/14/2018 Page 1 of 84



                       UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF FLORIDA
                              MIAMI DIVISION
                           Case No. 17-cv-24127-DPG

  NLG, LLC,

         Defendant/Appellant
  v.

  SELECTIVE ADVISORS GROUP, LLC,
  LIZA HAZAN, A/K/A ELIZABETH HAZAN


         Plaintiffs/Appellees
                                            /

       APPELLANT NLG LLC’S OPPOSITION RESPONSE TO RENEWED
               MOTION TO DISMISS APPEAL [ECF No. 36]

         NLG, LLC (“NLG”), through undersigned counsel, files this Opposition

  Response to the Renewed Motion to Dismiss Appeal [ECF No. 36] (the “Motion”)

  filed by the Debtor, Liza Hazan (the “Debtor”) and Selective Advisors Group, LLC

  (“Selective”), and respectfully states:

         1.    Even when it was contrary to its interests, NLG has consistently

  asserted that the Final Judgmen, entered by Judge Cristol on November 1, 2017,

  was a final appealable judgment. Appellees, on the other hand, have advocated

  inconsistent, and diametrically opposite positions.




                                                                               1
Case 1:17-cv-24127-DPG Document 45 Entered on FLSD Docket 05/14/2018 Page 2 of 84



        2.     At the hearing on March 6, 2018 on NLG’s Motion for Relief From

  Order Dismissing Appeal, the following exchange occurred on page 22 starting at

  line 7 (the full transcript is attached to this Reply as Exhibit 1):

        THE COURT: So, on that issue, is Judge Cristol’s order a final,
        appealable order anyway, as Mr. Dillworth questioned, or not?

        MR. LANGLEY: Two things, Judge. One is, it’s too late for them to
        raise that issue, that’s not -- it hasn’t been raised at any point, at any
        time, in this whole discussion until Mr. Dillworth walked up to the
        microphone. Second, it is final. If you look at it, there is this issue of
        the lien that goes back 10 years, to a note and mortgage signed 10
        years ago, that’s been in litigation all of this time. Completely
        separate from that there were some tort claims, personally, against Mr.
        Kosachuk acting on behalf of NLG, for certain things that he’s done
        in the past few years, completely separate from the lien issue. The
        judge bifurcated the case because they were completely separate
        issues, and we went to trial just on Counts 1, 2 and 3. And the Judge
        entered, clearly, a final judgment, resolved every issue, it cleared title
        to the property, it eliminated the note and mortgage, it found that -- by
        the way, it found that Selective is a creditor of NLG. And Selective
        certainly was not conferenced in, was not consulted, as far as letting
        Judge Ramirez file the appeal on behalf of NLG. Selective is a
        creditor as of this moment of NLG.

        THE COURT: So there’s a subsequent-filed judgment after the final
        judgment at issue here?

        MR. LANGLEY: No. The November 1 final judgment ended all
        litigation concerning that issue and those parties and the lien issue.
        And we have researched that as well, Judge. It’s clearly a final
        judgment capable of being taken up on appeal.

        3.     NLG never disputed Mr. Langley’s arguments on March 6, 2018,

  because it agreed with him.




                                                                                     2
Case 1:17-cv-24127-DPG Document 45 Entered on FLSD Docket 05/14/2018 Page 3 of 84



        4.     Appellees never raised this alleged issue that the November 1, 2017

  Final Judgment was not final in their first Motion to Dismiss Appeal [ECF No. 6]

  because, as stated above, they researched that issue and determined that the Final

  Judgment was and is a final appealable judgment. Their initial research was

  correct then and is correct now. The only reason they are arguing otherwise now is

  to further delay this appeal.

        5.     In the often quoted words of the Supreme Court, a “final decision” is

  one that “ends the litigation on the merits and leaves nothing for the court to do but

  execute the judgment.” Catlin v. United States, 324 U.S. 229, 233 (1945). This is

  precisely the case here.        Judge Cristol entered a Final Judgment on the core

  bankruptcy matters, ended the litigation on the core bankruptcy matters and simply

  has no jurisdiction to do anything further with the remaining counts, except to

  dismiss them. There is nothing further for the Bankruptcy Court to do, except

  enforce the Final Judgment.

        6.     The Bankruptcy Court entered a final appealable judgment on all

  counts which went to trial and only on counts which the bankruptcy court had

  jurisdiction to hear; the core bankruptcy matters. The Final Judgment resolved all

  the issue which relate to the core bankruptcy matters, the Debtor’s homestead and

  NLG’s lien in the homestead as well as its claim in the bankruptcy. The remaining

  counts have nothing to do with this issue and have no relation to the bankruptcy




                                                                                     3
Case 1:17-cv-24127-DPG Document 45 Entered on FLSD Docket 05/14/2018 Page 4 of 84



  whatsoever. They raise issues between the debtor Hazan only and Chris Kosachuk

  personally, not NLG, which date back to 2008 and which were dismissed with

  prejudice almost ten years ago. Selective has no interest in the remaining counts at

  all. In fact, since Judge Cristol entered his final judgment more than six months

  ago, debtor Hazan has done nothing to prosecute the remaining counts against Mr.

  Kosachuk, which will have to be adjudicated in a separate proceeding by a district

  court judge, not a bankruptcy judge.

        7.     As Mr. Langley told this Court on March 6, 2018, Judge Cristol

  entered a Final Judgment on the core bankruptcy matters raised in the adversary

  hearing—the validity of the Final Judgment of Foreclosure entered by Circuit

  Judge Monica Gordo. This ended the litigation on the core bankruptcy matters.

  Judge Cristol simply has no jurisdiction to do anything further with the remaining

  counts because they constitute tort claims which NLG never consented to be tried

  by Judge Cristol. That was the reason he bifurcated the remaining counts after he

  decided the issues raised in Counts I through III.

        8.     In Walden v. Walker (In re Walker), 515 F.3d 1204 (11th Cir. 2008),

  the Court stated: “In the bankruptcy context, this Court has concluded that ‘it is

  generally the particular adversary proceeding or controversy that must have been

  finally resolved rather than the entire bankruptcy litigation.’” Id. at 1210 quoting

  from Commodore Holdings, Inc. v. Exxon Mobil Corp., 331 F.3d 1257, 1259 (11th




                                                                                   4
Case 1:17-cv-24127-DPG Document 45 Entered on FLSD Docket 05/14/2018 Page 5 of 84



  Cir. 2003). The adversary proceeding in this case has been resolved by the Final

  Judgment under appeal.

        9.     A single case can simultaneously contain an action brought by a

  trustee to recover property transferred by a debtor, a debtor’s action objecting to a

  claim asserted by a creditor, and an adversary proceeding brought by or against the

  debtor involving a breach of contract. “Parties to these separate proceedings should

  not have to wait for the end of the entire bankruptcy proceeding before they can

  appeal.” In re James Wilson Assocs., 965 F.2d 160, 166 (7th Cir. 1992).

        10.    Courts have adopted a broader approach in bankruptcy cases,

  explaining thusly:

        That broader approach to finality stems from the need to tie up the
        many subsidiary matters that litter the road to the distribution of assets
        in bankruptcy. A court cannot wait until the end of the case to allow
        the appeal, because final disposition in bankruptcy . . . depends on
        prior, authoritative disposition of subsidiary disputes.

  In re Gould, 977 F.2d 1038, 1041 (7th Cir. 1992), quoting from In re Kilgus, 811

  F.2d 1112, 1116 (7th Cir. 1987).

        11.    The NLG Foreclosure Judgment not only instigated the bankruptcy

  filing (a day before the foreclosure sale), but also plays a crucial role in the

  Debtor’s proposed plan of reorganization because she proposes a refinancing of the

  Fisher Island Property and to use those proceeds to fund the plan. The plan can

  only proceed to the extent that NLG has no interest in the Fisher Island Property




                                                                                     5
Case 1:17-cv-24127-DPG Document 45 Entered on FLSD Docket 05/14/2018 Page 6 of 84



  and by using NLG’s equity in the Property to secure other creditors. As such this

  subsidiary matter must be finally resolved before the bankruptcy confirmation

  which is now scheduled for May 30, 2018. Obviously, the Debtor is trying to rush

  to confirmation, while simultaneously delaying the NLG adversary to the detriment

  of NLG.

         12.    At the first confirmation hearing, on the latest filed plan and

  disclosure statement, on May 8, 2018 before Judge Cristol, Mr. Langley again

  argued extensively that Cristol Judgment is final in an attempt to persuade Judge

  Cristol to move forward with confirmation.        Judge Cristol was unmoved and

  stated: “We’ll have to roll the confirmation”. [See May 8, 2018 Hearing Transcript

  herein as Exhibit 2, page 14 line 7]. Attached hereto Exhibit 2, is the full hearing

  transcript.

         13.    On page 11 starting on line 3 of the same transcript:

     THE COURT: If the order [the November 1, 2017 Final Judgment] is -- if the
     District Court takes the matter up, then we have to wait and see what comes out
     of it. So as I said, I'm going to defer ruling on those three matters pending a
     report from the District Court as to how they're going to deal with it.

         14.    Judge Cristol then reset confirmation hearing to May 30, 2018. [See

  May 8, 2018 Hearing Transcript herein as Exhibit 2, page 20, line 16].

         15.    Mr. Langley seems to argue whatever suits his need at the current

  instant. Mr. Langley argued that the Cristol Judgment was final to this Court on

  March 6, 2018.      Then on April 18, 2018, Counsel Langley argued the exact



                                                                                   6
Case 1:17-cv-24127-DPG Document 45 Entered on FLSD Docket 05/14/2018 Page 7 of 84



  opposite to this Court that the Cristol Judgment was non-final. On May 8, 2018,

  Counsel Langley flip-flopped again and argued to Judge Cristol that the November

  1, 2017 Cristol Judgment was final in an attempt to proceed to confirmation. [See

  May 8, 2018 Hearing Transcript herein as Ex. 2 p. 5 line 25].

        16.    Judge Cristol has reset the confirmation hearing to May 30, 2018 and

  is waiting for a ruling from this Court on the appeal. [See May 8, 2018 Hearing

  Transcript herein as Ex. 2 p.20 lines 16-17].

        17.    The original adversary complaint was a two-count complaint, with

  core bankruptcy matters only; Count I; To determine the validity, priority and

  extent of NLG’s lien and Count II; the avoidance of NLG’s lien pursuant to 11

  U.S.C. § 544. The sole plaintiff was Selective and the sole defendant was NLG.

        18.    The amended complaint included those two counts and a third count

  for quiet title. Again all core bankruptcy matters. It also added Liza Hazan as a

  co-plaintiff and still had NLG as the lone defendant.

        19.    The Third Amended Complaint, which is the operative complaint in

  the matter, included six additional tort claims (non-core bankruptcy matters) and

  added Mr. Kosachuk as a defendant. The remaining six counts are:

               COUNT IV. INTENTIONAL TORT – Hazan v. Kosachuk;

               COUNT V. DEFAMATION – Hazan v. Kosachuk;

               COUNT VI. TRESPASS – Hazan v. Kosachuk;




                                                                                   7
Case 1:17-cv-24127-DPG Document 45 Entered on FLSD Docket 05/14/2018 Page 8 of 84



              COUNT VII. INTENTIONAL INTERFERENCE                              WITH
              BUSINESS RELATIONSHIPS – Hazan v. Kosachuk;

              COUNT VIII. INVASION OF PRIVACY – Hazan v. Kosachuk;

              COUNT IX. INTENTIONAL INFLICTION OF EMOTIONAL
              DISTRESS – Hazan v. Kosachuk.

        20.   Also as noted above, the bankruptcy judge bifurcated the case into

  two separate cases: the first on counts I, II and III (core bankruptcy case) and the

  second complaint on counts IV to IX (non-core bankruptcy case). As such, the

  non-core case must be tried separately by a District Judge and not a Bankruptcy

  Judge, with a separate and distinct final judgment on the remaining counts in the

  event that the frivolous non-core claims survive a motion to dismiss and/or

  summary judgment. This future judgment will have absolutely no effect on the

  Final Judgment being appealed herein.

        21.   Counts IV to IX are non-core bankruptcy matters where the

  bankruptcy court does not have subject matter jurisdiction to hear and on which it

  cannot enter a final judgment.

        22.   At the trial on July 13, 2017, all parties agreed to this bifurcation and

  the Court made clear its intention to have two separate cases, one on core

  bankruptcy matters and another on non-core matters.

     THE COURT: Be seated, please. Very well. During the noon recess, the Court
     has been reviewing the pleadings and notes that in the defendant's counterclaim,
     on Page 24 and 25 thereof, NLG does not consent to the entry of final orders or
     judgment by the Bankruptcy Court in the non-core matters raised in this



                                                                                    8
Case 1:17-cv-24127-DPG Document 45 Entered on FLSD Docket 05/14/2018 Page 9 of 84



     complaint. So that kind of separates Count 1, 2, and 3 from the remaining
     counts, 3 4, 5, 6, 7, 8, and 9. Under the circumstances, I believe that it would
     be most prudent to go forward with the three counts on which this Court
     may enter final judgment, and then reset the other counts for further trial if
     needed, following the conclusion of this trial. [See ECF No. 11-4 page 1274
     starting on line 20]

  As noted earlier, debtor Hazan has done nothing to “reset the other counts for

  further trial if needed.”

        23.    As such, the Bankruptcy Court did not make any findings pursuant to

  Rule 7054(b) because it did not have to as it was clear to the Bankruptcy Court and

  to all parties that the November 1, 2017 Cristol Judgment was a final and

  appealable judgment.

        24.    NLG has filed a demand for jury trial on the remaining non-core

  matters, filed a Motion to Withdraw the Reference and designation of the record.

  [See Selective Advisors Group, LLC and Liza Hazan v. NLG, LLC, Case No. 16-

  ap-1439 ECF Nos. 267, 268 and 269].

        25.    Federal Rule of Bankruptcy Procedure 7042 makes Federal Rule of

  Civil Procedure 42 applicable in adversary proceedings. Rule 42(b) provides:

        For convenience, to avoid prejudice, or to expedite and economize, the court
        may order a separate trial of one or more separate issues, claims,
        crossclaims, counterclaims, or third-party claims. When ordering a separate
        trial, the court must preserve any federal right to a jury trial.

  Fed. R. Civ. P. 42. “The decision to separate or bifurcate a trial is committed to the

  sound discretion of the trial court . . . .” Farmers Co-op Co. v. Senske & Son




                                                                                     9
Case 1:17-cv-24127-DPG Document 45 Entered on FLSD Docket 05/14/2018 Page 10 of 84



   Transfer Co., 572 F.3d 492, 498–99 (8th Cir. 2009); see also State Bank of

   Florence v. Miller (In re Miller), 459 B.R. 657, 670 (B.A.P. 6th Cir. 2011), aff’d,

   513 F. App’x 566 (6th Cir. 2013). Generally, the party seeking bifurcation has the

   burden of persuading the Court that bifurcation is warranted. E.g., Dallas v.

   Goldberg, 143 F. Supp. 2d 312, 315 (S.D.N.Y. 2001).           Hazan never filed an

   appeal or cross appeal challenging the bifurcation of Counts IV through IX.

           26.   There is no benefit to the bankruptcy estate from these tort claims and

   Debtor Hazan has failed to even schedule them as assets of the bankruptcy estate.

           WHEREFORE, for the reasons set forth above, NLG respectfully requests

   that the Court deny the Renewed Motion to Dismiss Appeal [ECF No. 36], order

   the Appellees to file their answer brief within 7 days or be precluded from doing so

   and grant such other and further relief as the Court deems appropriate.

   May 14, 2018.

            CERTIFICATION PURSUANT TO LOCAL RULE 2090-1(A)

           I hereby certify that I am admitted to the Bar of the United States District

   Court for the Southern District of Florida and I am in compliance with the

   additional qualifications to practice in this court set forth in Local Rules 2090-

   1(A).


                                          Respectfully submitted,




                                                                                   10
Case 1:17-cv-24127-DPG Document 45 Entered on FLSD Docket 05/14/2018 Page 11 of 84



       Attorneys for Appellant NLG, LLC
       Juan Ramirez, Jr.                      Astrid E. Gabbe
       ADR Miami, LLC                         The Law Office of Astrid E. Gabbe, P.A.
       Florida Bar No. 201952                 Florida Bar No. 635383
       ADR Miami LLC                          P.O. Box 4216
       1172 S. Dixie Hwy. #341                Hollywood, FL 33083
       Coral Gables, FL 33146                 Tel. (954) 303-9882
       (305) 667-6609                         Fax. (954) 983-1427
       jr@adrmiami.com                        astridgabbe@gmail.com




                                                                                11
Case 1:17-cv-24127-DPG Document 45 Entered on FLSD Docket 05/14/2018 Page 12 of 84




                           EXHIBIT 1
             NLG, LLC v. Selective Advisors Group, LLC and Liza Hazan

                            Case No. 17-cv-24127-DPG

                         March 6, 2018 Hearing Transcript




                                                                          12
Case 1:17-cv-24127-DPG Document 45 Entered on FLSD Docket 05/14/2018 Page 13 of 84
                                                                                  1


     1                    UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF FLORIDA
     2                           MIAMI DIVISION
                           CASE NO. 1:17-CV-24127-DPG
     3

     4   NLG, LLC
                     Defendant/Appellant         Miami, Florida
     5
                   vs.                           March 6, 2018
     6                                           Tuesday

     7   LIZA HAZAN A/K/A ELIZABETH HAZAN        Scheduled for 10:00 a.m.
         AND SELECTIVE ADVISORS GROUP, LLC       10:30 a.m. to 11:24 a.m.
     8
                     Plaintiffs/Appellees        Pages 1 - 47
     9
         ------------------------------------------------------------
   10

   11                             MOTION HEARING

   12                  (NLG's MOTION FOR RELIEF FROM ORDER
                     DISMISSING APPEAL AND FOR REINSTATEMENT)
   13
                         BEFORE THE HONORABLE DARRIN P. GAYLES
   14                        UNITED STATES DISTRICT JUDGE

   15
         APPEARANCES:
   16

   17    FOR NLG, LLC:                JUAN RAMIREZ, ESQ.

   18
         FOR LIZA HAZAN A/K/A         DAVID WILLIAM LANGLEY, ESQ.
   19    ELIZABETH HAZAN:             David W. Langley
                                      8551 West Sunrise Boulevard
   20                                 Suite 303
                                      Plantation, Florida 33322
   21

   22    FOR SELECTIVE ADVISORS       JOEY MICHAEL GRANT, ESQ.
         GROUP, LLC                   Marshall Socarras Grant, P.L.
   23                                 197 South Federal Highway
                                      Suite 200
   24                                 Boca Raton, Florida 33432,

   25




                                                                          13
Case 1:17-cv-24127-DPG Document 45 Entered on FLSD Docket 05/14/2018 Page 14 of 84
                                                                                  2


     1   ALSO PRESENT:

     2                    Chris Kosachuk, representative of NLG, LLC

     3                    Elizabeth Hazan a/k/a Liza Hazan, the Debtor

     4                    Sean Neil Meehan, Debtor's Husband

     5

     6

     7

     8

     9   STENOGRAPHICALLY
         REPORTED BY:                 GLENDA M. POWERS, RPR, CRR, FPR
   10                                 Official Court Reporter
                                      United States District Court
   11                                 400 North Miami Avenue, Room 08S33
                                      Miami, Florida 33128
   12

   13

   14

   15

   16

   17

   18

   19

   20

   21

   22

   23

   24

   25




                                                                          14
Case 1:17-cv-24127-DPG Document 45 Entered on FLSD Docket 05/14/2018 Page 15 of 84
                                                                                  3


     1             (Call to the order of the Court:)

     2             COURTROOM DEPUTY:     All rise.

     3             THE COURT:    Please be seated.

     4             COURTROOM DEPUTY:     NLG, LLC, versus Selective Advisors

     5   Group, LLC, et al., Case Number 17-Civil-24127.

     6             Counsel, please make your appearances.

     7             MR. LANGLEY:    Good morning, Your Honor.      David Langley

     8   here representing Elizabeth Hazan, and Ms. Hazan is in the

     9   courtroom with us.

   10              THE COURT:    Okay.

   11              MR. GRANT:    Good morning, Your Honor.      Joe Grant.    I

   12    represent Selective Advisors Group, and my client, Mr. Meehan,

   13    representative for Selective, is also here.

   14              THE COURT:    Okay.

   15              MR. RAMIREZ:    Good morning.     Juan Ramirez on behalf of

   16    NLG, LLC, and joining me is a member -- managing member here,

   17    which is Chris Kosachuk.

   18              THE COURT:    Okay.

   19              MR. RAMIREZ:    Thank you.

   20              MR. DILLWORTH:     Good morning, Judge Gayles.

   21    Drew Dillworth.     I'm here pursuant to Your Honor's order.

   22              THE COURT:    Okay.   All right.    Good morning, everyone.

   23              So we are here on NLG's motion for relief from the

   24    order dismissing appeal and for reinstatement.

   25              And unless the state court has revisited that order




                                                                          15
Case 1:17-cv-24127-DPG Document 45 Entered on FLSD Docket 05/14/2018 Page 16 of 84
                                                                                  4


     1   appointing Mr. Dillworth as receiver, I think you still speak

     2   on behalf of NLG; is that not correct?

     3             Why don't you come up to a microphone, please.

     4             MR. DILLWORTH:     Thank you, Judge.

     5             So, it's more complicated than that, in my view,

     6   Your Honor.     And I put in the record a series of e-mails among

     7   NLG's counsel, its principal, and myself that occurred right

     8   around the Rosh Hashanah holiday concerning the underlying

     9   receivership.

   10              And if I could backup just a moment.

   11              This is a state court receivership entered

   12    post-judgment without a hearing issued --

   13              THE COURT:    So how did you even come to be appointed?

   14              MR. DILLWORTH:     I have no idea.    There was an ex parte

   15    motion filed by the creditor that obtained a judgment.           And

   16    incidentally, the creditor that obtained the judgment was

   17    counsel of NLG in the bankruptcy case prior to Mr. Ramirez.

   18              So there was no hearing.      The judge who entered the

   19    receivership order was the very judge who issued the underlying

   20    final judgment in the foreclosure proceeding that is now before

   21    the Court.

   22              THE COURT:    So you weren't contacted before you were

   23    appointed?

   24              MR. DILLWORTH:     I was not.   And that's happened to me

   25    several times in this kind of context.         And so, what did I do?




                                                                          16
Case 1:17-cv-24127-DPG Document 45 Entered on FLSD Docket 05/14/2018 Page 17 of 84
                                                                                  5


     1             Knowing that there was no hearing, knowing that the

     2   very judge that issued the receivership order also issued the

     3   underlying judgment that is now before the Court, and

     4   understanding my role as the eyes and ears of the Court and not

     5   wanting to do anything in connection with the pending

     6   litigation to upset the applecart, if you will, I investigated

     7   what the capital structure of NLG was -- because I wanted to

     8   determine, is this the kind of case where there's a business

     9   that needs to be saved?

   10              Is this a kind of case where there's a whole lot of

   11    activity that needs to happen immediately?

   12              -- which you otherwise would determine from a court

   13    record, an evidentiary proceeding that led to receivership.

   14              And I quickly concluded that this was not that kind of

   15    case.   I quickly concluded that the asset in question here --

   16    the only asset that NLG has -- is the underlying final judgment

   17    that's before the Court.

   18              I determined that all the litigation that gave rise to

   19    that judgment in state court and then all the litigation

   20    challenging the judgment that's placed in the bankruptcy

   21    court -- which is the record before the Court -- had already

   22    concluded.

   23              And I was immediately confronted with a party to the

   24    case, meaning Equity, NLG, its former counsel saying, there was

   25    no service -- not only was there no service of the receivership




                                                                          17
Case 1:17-cv-24127-DPG Document 45 Entered on FLSD Docket 05/14/2018 Page 18 of 84
                                                                                  6


     1   order, but there was no service of the underlying complaint

     2   giving rise to the judgment by default.

     3              THE COURT:   You mean the complaint filed by Genovese

     4   Joblove?

     5              MR. DILLWORTH:    I apologize.    Yes, Your Honor.

     6              Not knowing why -- all the questions Your Honor might

     7   have today, it's hard to prepare, but -- so I'm just trying to

     8   give you a stream of consciousness, so if I get it wrong,

     9   please tell me if there's any ambiguity.

   10               So when I realized that and I realized that the only

   11    other creditors of NLG are the Genovese firm for the 40,000,

   12    there is an unsatisfied judgment, I believe, that's of record

   13    in Miami-Dade for about another hundred thousand, counsel --

   14    that -- a former lawyer to NLG, and Mr. Ramirez, he has a claim

   15    against NLG for his work, all of which totals roughly a half

   16    million or less.

   17               And I look at the size of the judgment and I see

   18    someone attacking the underlying service of the complaint

   19    giving rise to that judgment, which goes to the heart of the

   20    state court's subject matter jurisdiction, who have not only

   21    entered the judgment, but everything that rests upon it.

   22               And having lived through a case that went to the

   23    Eleventh Circuit, the Nica Holdings case, where my client

   24    inherited in a bankruptcy case -- a bankruptcy case that he was

   25    directed to administer -- but the authority to have filed it




                                                                          18
Case 1:17-cv-24127-DPG Document 45 Entered on FLSD Docket 05/14/2018 Page 19 of 84
                                                                                  7


     1   was subject of challenge and, ultimately, never got resolved

     2   until two years later, right.

     3             In very underlying similar situation where the only

     4   asset was litigation changes and having had all of that work in

     5   that case being undone by the circuit -- because the subject

     6   matter jurisdiction of the bankruptcy court was never

     7   appropriate; and recognizing that the last thing, I think, the

     8   state court judge, Judge Gordo, would have wanted to do was to

     9   have me interfere in a matter that, effectively, was static,

   10    again, there was nothing going on.

   11              THE COURT:    So why didn't you go to Judge Gordo as the

   12    receiver she appointed and say, Judge, there are issues

   13    regarding service of the complaint filed by Genovese Joblove,

   14    and there are, apparently, issues regarding my appointment for

   15    which I actually never really agreed to do it -- I mean, why

   16    didn't you go to her as her court-appointed receiver and tell

   17    her that?

   18              MR. DILLWORTH:     Respect, Your Honor.     Now, in a

   19    different case, different facts, that's exactly what I would

   20    have done.

   21              THE COURT:    Well, you do understand --

   22              MR. DILLWORTH:     I do understand.

   23              THE COURT:    -- that had that been me, I would have been

   24    furious at you for not coming to me to tell me that there were

   25    these problems, because I would have appointed you as receiver.




                                                                           19
Case 1:17-cv-24127-DPG Document 45 Entered on FLSD Docket 05/14/2018 Page 20 of 84
                                                                                  8


     1             Of course, I would have called you first and asked you

     2   whether or not you wanted to be a receiver, but -- I mean,

     3   you're experienced.

     4             MR. DILLWORTH:     I am.

     5             THE COURT:    You got to understand that you have to tell

     6   the Court if there's a problem, if you are actually appointed

     7   receiver.

     8             MR. DILLWORTH:     I am, Your Honor.    And I would beg your

     9   indulgence to at least understand my thinking, because,

   10    obviously, this is what I do for a living.

   11              But as I started with, each case is different, right,

   12    and in this case there was nothing to do anyway.          The only

   13    thing that I could have done -- which I actually started the

   14    process of doing -- was to intervene in the bankruptcy court.

   15              And if you look at what happened in the bankruptcy

   16    court, I would have intervened only -- and not replaced

   17    counsel -- that was because counsel, Mr. Ramirez, is familiar

   18    with the record.

   19              And then, in addition to that, you had -- and this

   20    would have been an evidentiary hearing.        You had the NLG filing

   21    a motion immediately, which is the condition upon which I said

   22    I'd stand down, to have a hearing on the issue about the

   23    Court's jurisdiction.

   24              So, in my mind anyway, at that time there was nothing

   25    more I really needed to do.       You had a creditor who had me




                                                                          20
Case 1:17-cv-24127-DPG Document 45 Entered on FLSD Docket 05/14/2018 Page 21 of 84
                                                                                  9


     1   appointed agreeing that I could stand down, you had NLG filing

     2   a motion to --

     3             THE COURT:    Wait, wait a minute.

     4             MR. DILLWORTH:     I'm sorry.

     5             THE COURT:    You said the creditor who had been -- are

     6   you talking about Genovese Joblove?

     7             MR. DILLWORTH:     I apologize, I'm using pronouns.

     8             THE COURT:    Use the names, please, sir.

     9             MR. DILLWORTH:     Yes, sir.    The assignee of the Genovese

   10    judgment did not oppose me standing down under the

   11    circumstances.

   12              NLG immediately in the state court filed a motion

   13    attacking the underlying judgment and the jurisdiction that

   14    entered the receivership order.

   15              So, now, why that can't get heard over in state court

   16    which requires an evidentiary hearing, I don't know.          It's

   17    taking a long time.      I haven't been involved in the back and

   18    forth between the Genovese judgment representative and NLG.

   19              But when I saw that the motion was filed to undo the

   20    underlying judgment upon which the receivership order rests, I

   21    was very comfortable standing down because --

   22              THE COURT:    What does that mean, exactly, "standing

   23    down," in your mind?

   24              MR. DILLWORTH:     In my mind, it meant doing nothing

   25    further until the state court adjudicated the issue about the




                                                                          21
Case 1:17-cv-24127-DPG Document 45 Entered on FLSD Docket 05/14/2018 Page 22 of 84
                                                                                 10


     1   validity of the judgment and the validity of the receivership

     2   order.

     3              Because, unlike some cases I've had over the 15, 20

     4   years I've been doing this, there was some activity that needed

     5   to be accomplished immediately.

     6              And if this were that type of case, I would say to

     7   you -- I would have been immediately back to Judge Gordo on

     8   some kind of emergency hearing.

     9              This was not that kind of case.

   10               The only issue or the only asset I could identify that

   11    NLG owns is the underlying judgment that Judge Gordo issued

   12    that wasn't mentioned in the receivership order that I found

   13    curious.

   14               And then the only issue was the validity of that

   15    judgment in the underlying bankruptcy case, a matter which had

   16    already been adjudicated.

   17               And so when I reached the agreement with NLG's

   18    counsel -- whom I would have otherwise hired anyway, because

   19    they already knew the record in both the state court and the

   20    bankruptcy court.

   21               When I reached that agreement to stand down -- at their

   22    request, frankly, and which the Genovese judgment holder agreed

   23    to -- it seemed to me the most appropriate action, given the

   24    record before me.

   25               And if the Court had time to hear the order -- I mean,




                                                                          22
Case 1:17-cv-24127-DPG Document 45 Entered on FLSD Docket 05/14/2018 Page 23 of 84
                                                                                 11


     1   I'm sorry -- the motion upon which there has been a dispute,

     2   which is the underlying service of the complaint, this would

     3   have been resolved one way or the other.

     4             THE COURT:    So that still has not been heard?

     5             MR. DILLWORTH:     That still has not been heard, and so

     6   I --

     7             THE COURT:    Who is the judge now in that division?

     8             MR. DILLWORTH:     It was Judge Gordo.     I'm not certain.

     9   I think it might be Judge Ruiz.

   10              MR. RAMIREZ:    Yes, it's Judge Ruiz, Your Honor, that

   11    was part of the problem, that we were in the middle of the

   12    transition from Judge Gordo to Judge Ruiz, and I had a lot of

   13    trouble getting a hearing.

   14              THE COURT:    Okay.   So let's just cut to the chase here.

   15    Whether the wording is "stand down," or something else, did you

   16    specifically authorize NLG's counsel to conduct this

   17    litigation?

   18              MR. DILLWORTH:     Was there -- the litigation in

   19    bankruptcy court had concluded.       The first time I became aware

   20    of the appeal, which would have been the only thing that I

   21    would have been specifically asked to authorize, was after it

   22    had been filed.

   23              And there's no question in my mind of that because --

   24    actually, the only thing I was surprised about -- which really

   25    goes to the heart of Your Honor's question, the substance of




                                                                          23
Case 1:17-cv-24127-DPG Document 45 Entered on FLSD Docket 05/14/2018 Page 24 of 84
                                                                                 12


     1   it -- the only thing that surprised me about the appeal was not

     2   that it had been taken -- because, in my mind, the agreement to

     3   stand down meant that NLG would continue to litigate; and I

     4   think every step along the way after that -- in terms of my

     5   withdrawing the motion to intervene -- confirms that.

     6             THE COURT:    So what was the context of this standing

     7   down?   Where in this process of litigation, where are the

     8   parties and what was the substance of those discussions?

     9             MR. DILLWORTH:     It was immediately after I reached out.

   10    After I received the appointment, the receivership order, I

   11    reached out to counsel to NLG and the parties representing NLG

   12    trying to understand, what is this case?         What are the assets?

   13    What do I need to do?

   14              Is there a ship with rotting fish that needs to be

   15    saved and monetized, or is this something different?

   16              And that was immediate.      So I think it was within 10

   17    days that I realized that there was a substantial

   18    disagreement -- or a substantial argument about underlying

   19    service of the complaint, which led to the default judgment,

   20    which led to the receivership order that NLG was contending

   21    that.   Going back in time, I would have done it the exact same

   22    way.

   23              Maybe I would have reached a more formal agreement, but

   24    I could see no better path forward, given the fact that the

   25    judgment was $40,000, the other creditor claims were roughly a




                                                                          24
Case 1:17-cv-24127-DPG Document 45 Entered on FLSD Docket 05/14/2018 Page 25 of 84
                                                                                 13


     1   couple hundred thousand dollars, and this judgment against

     2   Ms. Hazan was, roughly, five million dollars.

     3             The best thing for me to do, knowing that if I would

     4   have intervened and started taking over litigation, I still

     5   would have used the same lawyers, was to agree to stand down

     6   until they sorted out this issue about the service of the

     7   underlying complaint that the Genovese firm filed against NLG.

     8             And so there was no specific discussions about the

     9   litigation after that.      I really did, in my mind, stand down

   10    because I -- in my mind, NLG was going to continue on with

   11    whatever needed to be done.

   12              And I wanted to finish a point I was trying to make a

   13    moment ago.    The only thing that surprised me about the filing

   14    of the notice of appeal was not that it had been filed.

   15              The only thing that surprised me was that they took it

   16    at that stage in the litigation, because as I read that final

   17    judgment -- and I know it says "final judgment" before you,

   18    it's an interlocutory order -- it did not resolve all of the

   19    underlying claims between the parties that were at issue in the

   20    adversary proceeding.

   21              And again, I haven't studied it for these particular

   22    facts, but I've been a bankruptcy lawyer for, roughly, since

   23    1992.

   24              And when you have eight claims and only seven are

   25    adjudicated and the same adversary, you can call the judgment,




                                                                          25
Case 1:17-cv-24127-DPG Document 45 Entered on FLSD Docket 05/14/2018 Page 26 of 84
                                                                                 14


     1   the partial judgment of all those eight claims anything you

     2   want, it's still interlocutory, until the remainder of the

     3   litigation was filed.

     4             So I know my first question was, why did you guys take

     5   the appeal anyway?     It's interlocutory.     But you still got to

     6   get the rest of the litigation resolved, and then you take it

     7   up, and the only exception to that is if you ask for -- to

     8   pursue an interlocutory appeal.       There's a motion and procedure

     9   under Rule 8000; and that, to me, was the only surprise, that

   10    they took it in the first place.

   11              Anyways, Your Honor, I certainly don't want you to

   12    think negatively of me.      When I reached this decision to stand

   13    down -- it's an unartful term -- I didn't think that I'd be

   14    here today trying to explain it, right.

   15              But when I reached that --

   16              THE COURT:    You do understand the reason you have to

   17    explain it is because Judge Gordo's order appointing you

   18    receiver vested all authority to act on behalf of NLG --

   19              MR. DILLWORTH:     Yes.

   20              THE COURT:    -- and you, and you alone.

   21              MR. DILLWORTH:     Yes.   And I acknowledge that.

   22              However, it was entered without hearing and a unique

   23    set of facts that I immediately became familiar with about the

   24    underlying service.      Now, I don't know how Judge Gordo is going

   25    to resolve that, but -- you know, look, the state court system




                                                                          26
Case 1:17-cv-24127-DPG Document 45 Entered on FLSD Docket 05/14/2018 Page 27 of 84
                                                                                 15


     1   is really overly burdened with litigation.

     2             THE COURT:    Counsel, I was a county and circuit judge

     3   for 10-and-a-half years.      I know the state system.

     4             MR. DILLWORTH:     And so, but -- as an arm of the

     5   Court -- and I hesitate to interrupt, Your Honor.          As an arm of

     6   the Court, I really thought exercising my discretion -- which

     7   is what a receiver's supposed to do -- I did the right thing

     8   here.

     9             And I know what those words and that order said, but it

   10    just felt like the right thing to do, particularly since a

   11    motion was filed by NLG to sort out this issue about the

   12    validity of the underlying Genovese judgment.

   13              THE COURT:    All right.

   14              I guess we'll start with you, Mr. Ramirez.

   15              MR. RAMIREZ:    Judge, the only thing I would like to add

   16    was there was a hearing in front of Judge Cristol, which Eric

   17    Silver, who was representing the receiver, raised this issue of

   18    whether I had authority to represent NLG, and Mr. Silver told

   19    Judge Cristol -- that they agreed that I could continue

   20    representing NLG, and Judge Cristol accepted that.

   21              So given all the e-mails exchanged with Mr. Dillworth

   22    and the fact that he acquiesced to my continued representation;

   23    and Mr. Silver's also, on the record, acquiesces in front of

   24    Judge Cristol, I thought that I was perfectly capable to

   25    represent NLG on the appeal and that I have full authority to




                                                                          27
Case 1:17-cv-24127-DPG Document 45 Entered on FLSD Docket 05/14/2018 Page 28 of 84
                                                                                 16


     1   represent NLG.

     2              So if I had thought that there was any way -- any

     3   possibility that that could be called into question, I would

     4   have had written a very formal, notarized agreement from

     5   Mr. Dillworth retaining me as counsel for NLG, because that's

     6   all I'm doing. I'm not trying to represent NLG, other than as

     7   counsel.    I'm not a party.

     8              I think the standing issue of NLG is, whether its

     9   receiver or Mr. Kosachuk, it's still the same NLG.          And I

   10    didn't think that there was any problem with my authority to

   11    represent, and I apologize if I caused any confusion or any

   12    delay in these proceedings.

   13               THE COURT:   So this -- you included on page two of the

   14    motion for relief an excerpt from the transcript.

   15               Well, actually, the transcript is --

   16               MR. RAMIREZ:   We attached the entire transcript as an

   17    exhibit.

   18               THE COURT:   The authority, based on Mr. Silver's

   19    statements, weren't as clear to me as they are to you, and

   20    perhaps you can kind of walk me through the transcript where

   21    he's indicating there's authorization.

   22               MR. RAMIREZ:   You know, I don't even know what the

   23    hearing was about because I wasn't even in the country, but I

   24    had somebody cover for me.

   25               And I think Mr. Langley raised the issue of whether my




                                                                          28
Case 1:17-cv-24127-DPG Document 45 Entered on FLSD Docket 05/14/2018 Page 29 of 84
                                                                                 17


     1   standing could in any way speak for NLG, and that's when

     2   Mr. Silver spoke up.      And from the response from Judge Cristol,

     3   he seemed to acquiesce to that arrangement.

     4             THE COURT:    So, I mean, obviously, one other way to

     5   have this --

     6             MR. RAMIREZ:    And, by the way, I have a motion tomorrow

     7   on the motion calendar.      I still have a special appointment

     8   later on.    I thought that my motion was so clearcut, because

     9   the summons was issued against the wrong corporation.

   10              They sued first NLG, a Pennsylvania corporation, and

   11    then they filed an amended complaint changing that to NLG, a

   12    Delaware corporation, but the summons was never amended and

   13    they ended up serving NLG, a Pennsylvania corporation.

   14              So I think that motion calendar should be more than

   15    sufficient.    There are all sorts of other problems with the

   16    appointment of the receiver, but if they can -- you know, if

   17    they set aside and they came to a default judgment, then we

   18    could go back to square one.

   19              And we don't deny that Genovese is entitled to recover

   20    their fees.    We just -- everything that happened in the state

   21    court proceeding was without notice to my client.

   22              THE COURT:    So the hearing on that underlying action

   23    brought by Genovese Joblove, that is before Judge Ruiz

   24    tomorrow?

   25              MR. RAMIREZ:    The motion calendar, and if he accepts my




                                                                          29
Case 1:17-cv-24127-DPG Document 45 Entered on FLSD Docket 05/14/2018 Page 30 of 84
                                                                                 18


     1   argument as to the summons, which I don't see how they -- you

     2   know, they never filed a response to my motion, so I don't know

     3   if they have anything to argue in rebuttal.

     4             But it's pretty clearcut that the summons that the

     5   Clerk issued was against NLG, LLC, a Pennsylvania corporation,

     6   and they served the registered agent in -- with an address

     7   of --

     8             THE COURT:    Well, you don't have to argue it to me here

     9   today but, I mean, if you had simply told me that it's set for

   10    tomorrow --

   11              MR. RAMIREZ:    I do.

   12              THE COURT:    -- I would have simply moved today's

   13    hearing to wait to find out what Judge Ruiz does.

   14              So, counsel, if Judge Ruiz vacates Judge Gordo's order

   15    or vacates the judgment, does that render all this moot then?

   16              MR. LANGLEY:    I would say, no, Judge.      There's an

   17    order, it's in effect today.

   18              I would point out a couple of things.

   19              This is the first I've heard from Mr. Ramirez about it

   20    being a different state, as opposed to a different registered

   21    agent.    The motion to set aside the final judgment claimed that

   22    Genovese served the wrong registered agent.

   23              But also in the file -- which Judge Ramirez is familiar

   24    with, and so is Mr. Dillworth -- is Genovese Joblove's motion

   25    for sanctions, attorneys fees and costs, pursuant to 57.105




                                                                          30
Case 1:17-cv-24127-DPG Document 45 Entered on FLSD Docket 05/14/2018 Page 31 of 84
                                                                                 19


     1   against NLG, Christopher Kosachuk -- the gentleman sitting

     2   here -- and its counsel, claiming that Mr. Kosachuk went in

     3   after the receivership order, changed the registered agent and

     4   then filed a motion saying "you served the wrong registered

     5   agent."

     6             And there's a response filed by Genovese, and there's a

     7   motion for sanctions.      This is all set for April 9th.

     8             We just learned today that Judge Ramirez is trying to

     9   get something set on motion calendar tomorrow.          There had been

   10    a prior hearing.     I guess that was continued because of the

   11    change of judges.      But there's a special set hearing where all

   12    this can be aired out April 9th.

   13              But I would point out a couple of other things, Judge.

   14              THE COURT:    Wait, wait a minute.     The special set

   15    hearing in the Genovese Joblove versus NLG case?

   16              MR. LANGLEY:    Yes.   All these things you've heard

   17    about:    The motion to set aside the final judgment, this motion

   18    by Genovese for sanctions back against them because they

   19    changed the registered agent -- not only after the lawsuit was

   20    filed and served, but after the receiver was appointed, in

   21    violation, again, of the receivership order changing the

   22    registration of NLG, so that Mr. Kosachuk could come back and

   23    say, "Oh, you served the wrong registered agent."

   24              They're claiming that he committed an outright fraud.

   25    I don't think there's much chance that Judge Ruiz is going to




                                                                          31
Case 1:17-cv-24127-DPG Document 45 Entered on FLSD Docket 05/14/2018 Page 32 of 84
                                                                                 20


     1   set aside this final judgment based on that.

     2              I would also point out, Judge, that there's yet another

     3   state court case.     NLG claimed that it had the second mortgage

     4   on Ms. Hazan's property.      Chase claims they purchased the first

     5   mortgage on Ms. Hazan's property.        They have a foreclosure suit

     6   pending.    We advised Chase of the receivership order.         They

     7   filed it in that case, in the Circuit Court of Miami-Dade.

     8              In that case, on February 8th, Mr. Dillworth filed

     9   consent of receiver for defendant NLG and its current counsel

   10    to defend the case.

   11               So what they did not do in this case -- and I think

   12    Mr. Dillworth answered the only question that mattered.            He

   13    didn't even know about the notice of appeal when it was filed,

   14    so he certainly didn't authorize it, as the order clearly

   15    requires.

   16               But they just a month ago filed a consent for

   17    Judge Ramirez to represent NLG in the state court.          They

   18    realized they needed some written consent for him to do it in

   19    the state court.     They didn't do it in this case.

   20               I'd also point out that in late December, December

   21    27th, at 1:00, my client and Mr. Meehan and Mr. Grant met with

   22    Mr. Dillworth, as receiver, and his attorney, for a settlement

   23    conference.    We can't get into, of course, into the settlement

   24    discussions.

   25               But there was a meeting with Drew Dillworth, as




                                                                            32
Case 1:17-cv-24127-DPG Document 45 Entered on FLSD Docket 05/14/2018 Page 33 of 84
                                                                                 21


     1   receiver, on December 27th.       There has been ongoing discussions

     2   with him as receiver.      In the state court, he's clearly the

     3   receiver, and he gave them specific consent, something he

     4   didn't do here.

     5              And he points out that the only real asset of NLG is

     6   this final judgment, which means this appeal is the only

     7   significant thing that matters to NLG, and they neglected to

     8   comply with Judge Gordo's receivership order and get written

     9   consent before filing this notice of appeal.

   10               It was clearly filed without the receiver's consent.         I

   11    think --

   12               THE COURT:   So does there have to be some magic words?

   13               What Mr. Dillworth seemed to say today was that he

   14    didn't specifically authorize it, but he didn't prohibit it.

   15    He knew about it -- about the litigation in bankruptcy court --

   16    and he didn't prohibit it, he didn't step in, so -- is that

   17    sufficient?

   18               MR. LANGLEY:   No, Judge.    I mean, clearly, he didn't

   19    completely stand down.      He didn't advocate.     He didn't go back

   20    to Judge Gordo and say "remove me as receiver."          That's clear

   21    by the fact that he signed a consent order in the Chase case

   22    saying, I'm the receiver and I need to give you permission,

   23    Judge Ramirez, to go represent NLG.

   24               The fact that he's meeting with my client, with

   25    Selective, in December, as the receiver.




                                                                          33
Case 1:17-cv-24127-DPG Document 45 Entered on FLSD Docket 05/14/2018 Page 34 of 84
                                                                                 22


     1             But more significantly, Judge, nobody knew who, if

     2   anyone, was going to appeal until Judge Cristol entered his

     3   final judgment November 1 and the notice of appeal was filed

     4   November 8th.     And Mr. Dillworth said, he knew nothing about it

     5   until after it was filed so how could he possibly have

     6   consented if he didn't know?

     7             THE COURT:    So, on that issue, is Judge Cristol's order

     8   a final, appealable order anyway, as Mr. Dillworth questioned,

     9   or not?

   10              MR. LANGLEY:    Two things, Judge.     One is, it's too late

   11    for them to raise that issue, that's not -- it hasn't been

   12    raised at any point, at any time, in this whole discussion

   13    until Mr. Dillworth walked up to the microphone.

   14              Second, it is final.     If you look at it, there is this

   15    issue of the lien that goes back 10 years, to a note and

   16    mortgage signed 10 years ago, that's been in litigation all of

   17    this time.

   18              Completely separate from that there were some tort

   19    claims, personally, against Mr. Kosachuk acting on behalf of

   20    NLG, for certain things that he's done in the past few years,

   21    completely separate from the lien issue.

   22              The judge bifurcated the case because they were

   23    completely separate issues, and we went to trial just on

   24    Counts 1, 2 and 3.

   25              And the Judge entered, clearly, a final judgment,




                                                                          34
Case 1:17-cv-24127-DPG Document 45 Entered on FLSD Docket 05/14/2018 Page 35 of 84
                                                                                 23


     1   resolved every issue, it cleared title to the property, it

     2   eliminated the note and mortgage, it found that -- by the way,

     3   it found that Selective is a creditor of NLG.

     4              And Selective certainly was not conferenced in, was not

     5   consulted, as far as letting Judge Ramirez file the appeal on

     6   behalf of NLG.

     7              Selective is a creditor as of this moment of NLG.

     8              THE COURT:   So there's a subsequent-filed judgment

     9   after the final judgment at issue here?

   10               MR. LANGLEY:   No.   The November 1 final judgment ended

   11    all litigation concerning that issue and those parties and the

   12    lien issue.    And we have researched that as well, Judge.           It's

   13    clearly a final judgment capable of being taken up on appeal.

   14               THE COURT:   So, I'm just curious, it isn't involving

   15    any issues here today, but what was Selective's litigation

   16    against NLG in New York?

   17               MR. LANGLEY:   If you have two more hours, we could

   18    start --

   19               THE COURT:   Give me the short version.

   20               MR. LANGLEY:   Selective has a judgment against --

   21    obtained a judgment against NLG, which was domesticated here.

   22    They executed on NLG -- that's the Judge Lopez case.          They

   23    executed on NLG and then got an assignment of the note,

   24    mortgage, final judgment.

   25               THE COURT:   No, I understand all that.




                                                                          35
Case 1:17-cv-24127-DPG Document 45 Entered on FLSD Docket 05/14/2018 Page 36 of 84
                                                                                 24


     1             What was the underlying litigation?        What were the

     2   claims in that case?

     3             MR. RAMIREZ:    I've been involved in this a lot longer

     4   than Mr. Langley, if I can tell you, Judge, if I may.

     5             MR. LANGLEY:    Well, I have a basic understanding,

     6   Judge, but it's complicated and it really doesn't concern --

     7   and it's a valid final judgment.       For 10 years they have been

     8   saying it's not.

     9             But every court, including after the bankruptcy was

   10    filed -- in violation of the automatic stay -- they went to

   11    New York, removed the state court case to the federal court.

   12              And the federal judge said all of your arguments -- she

   13    disagreed with all our arguments that the final judgment

   14    against NLG was -- she said it was final, it wasn't procured by

   15    fraud.

   16              She dismissed all of their claims and issued an order

   17    to show cause to their New York counsel for why he shouldn't be

   18    sanctioned for bringing a frivolous claim in the federal court.

   19              THE COURT:    Okay.   So, as you know, from my earlier

   20    order, there's usually a background section when I write those

   21    orders, and I'm curious because it wasn't clear what that

   22    litigation was about.

   23              MR. RAMIREZ:    I could tell you very quickly what the

   24    New York judgment was.      It was a judgment by confession, of

   25    which is allowed under New York law, and it was obtained by a




                                                                          36
Case 1:17-cv-24127-DPG Document 45 Entered on FLSD Docket 05/14/2018 Page 37 of 84
                                                                                 25


     1   predecessor of Selective, which was called Quebec, which it's

     2   assumed under.

     3              And they filed in Pennsylvania and they obtained a

     4   charging order -- which was a violation of Pennsylvania law, by

     5   the way.    And they went to New York, and then the same party,

     6   Mr. Houle -- whatever his name is -- he represented both the

     7   plaintiff and the defendant, and he reached a consent judgment

     8   of five million dollars based upon abuse of process.

     9              We've been trying to get that judgment vacated with

   10    New York and -- if you look at the record of the New York

   11    court, it got continued numerous times until finally they were

   12    going to have a hearing that day, and the day before they said,

   13    well, wait a minute, that judgment has been satisfied.

   14               So the judge in New York said, well, it's satisfied, I

   15    don't have to do anything.       He dismissed it.

   16               Then I came back to this Court, and I went to Judge

   17    Lopez, who had domesticated that judgment.

   18               I said, "Judge, look, they've satisfied that judgment,

   19    you can dismiss this case."

   20               He did.

   21               All of this was brought in front of Judge Gordo.         She

   22    saw through this whole litany of litigation and all these

   23    different jurisdictions, and she gave us a final judgment of

   24    foreclosure.

   25               So, basically, our position is that that judgment in




                                                                          37
Case 1:17-cv-24127-DPG Document 45 Entered on FLSD Docket 05/14/2018 Page 38 of 84
                                                                                 26


     1   New York was fraudulently obtained.        Selective cannot get more

     2   than Quebec had when they assigned the judgment.          That judgment

     3   is still fraudulent.      Judge Lopez said, no, you have to go to

     4   New York.    I'm not going to get into due process, and we've

     5   never had full litigation of that judgment.

     6             But that judgment is now satisfied, so it's moot.

     7             THE COURT:    But that's the problem, right, that -- that

     8   NLG didn't -- it sounds like -- appeal that decision in

     9   New York?

   10              MR. RAMIREZ:    They didn't appeal it, 'cause they had

   11    never heard of that judgment until after a year had gone by;

   12    and then they, for the first time, used it here, incidentally,

   13    while our appeal was pending in the Third District on the

   14    foreclosure.    So they managed to create many smoke screens in

   15    this case.

   16              When I got into this, I thought it was a very simple

   17    foreclosure, and here I am, over four years later, trying to

   18    get this thing closed.

   19              THE COURT:    You seem to take issue in my order

   20    referring to this -- all this litigation as a "saga."

   21              I stand by those words.      All right.

   22              So I think what you --

   23              MR. GRANT:    Yeah, Your Honor, I just wanted to make one

   24    brief point about the Selective Advisors' judgment.

   25              All of these issues were litigated in front of




                                                                          38
Case 1:17-cv-24127-DPG Document 45 Entered on FLSD Docket 05/14/2018 Page 39 of 84
                                                                                 27


     1   Judge Cristol.     In fact, at the conclusion of the trial in

     2   front of Judge Cristol, he asked all of us -- after we gave him

     3   everything.    We gave Judge Cristol every ruling, every order,

     4   every judgment, New York, all the different jurisdictions.

     5             Judge Cristol on the record said, "Gentlemen, do you

     6   stipulate that all of these judges are final?"

     7             And everyone said yes.

     8             And so, Judge Cristol took all that information and

     9   spent a few months compressing the detailed history of these

   10    parties, and that's when the Court issued -- that Judge Cristol

   11    issued his final judgment.

   12              So to now continue to re-argue these issues, we're well

   13    passed that.    And what I'd also like to say, Your Honor, there

   14    was never a stay of the receivership order at any point in

   15    time.

   16              Mr. Silver, Mr. Drew Dillworth's colleague, approached

   17    us and left immediately, saying -- once they were appointed --

   18    and they were appointed after a hearing, Your Honor.

   19              There was a hearing.     Genovese Joblove filed a motion

   20    to appoint a receiver, and Genovese Joblove and Battista

   21    drafted the order appointing Mr. Dillworth as receiver.           So it

   22    didn't come out of nowhere.       They specifically selected him to

   23    act as receiver.

   24              At any point in time when he became -- when

   25    Mr. Dillworth became aware of the appeal -- and he admits that




                                                                          39
Case 1:17-cv-24127-DPG Document 45 Entered on FLSD Docket 05/14/2018 Page 40 of 84
                                                                                 28


     1   he didn't learn of it -- they filed it even before he learned

     2   of it.    File a consent, file a motion to stay the receivership

     3   in state court, do something where the parties know who has the

     4   authority to act on behalf of who.        Instead, nothing's done.

     5             And instead, the appeal continues as it is.         And as

     6   Your Honor pointed out in your order, there was a violation of

     7   the receivership order, and no one never attempted to cure that

     8   by filing a motion to stay, which is all it would have taken, a

     9   stipulation amongst NLG and the receiver:

   10              "Hey, NLG, you handle the appeal.       File something in

   11    that case indicating that, instead of leaving it out there."

   12              But they didn't.

   13              And the other point, Your Honor, what happens if the

   14    receiver or Genovese keeps their judgment?         Because at that

   15    point, if the receiver didn't file anything -- I guess this is

   16    probably a problem for down the road:

   17              But if the receiver turns out to have the appeal and

   18    didn't file anything, are we back here again in front of

   19    Your Honor dealing with this authority issue?

   20              THE COURT:    So what happens if Judge Ruiz vacates

   21    the --

   22              MR. GRANT:    Denies the --

   23              THE COURT:    -- grants NLG's motion and vacates

   24    Judge Gordo's order nunc pro tunc to which he issued it, then

   25    where does that leave us?




                                                                          40
Case 1:17-cv-24127-DPG Document 45 Entered on FLSD Docket 05/14/2018 Page 41 of 84
                                                                                 29


     1             MR. GRANT:    Well, if it's nunc pro tunc, Your Honor,

     2   certainly, then that's if there was never a receiver.

     3             THE COURT:    You understanding?

     4             MR. GRANT:    But that's -- certainly, if that happens,

     5   then that changes anything.

     6             THE COURT:    All right.    And I'm assuming you're not a

     7   party to that litigation?

     8             MR. GRANT:    I'm not a party to that litigation, Your

     9   Honor.

   10              MR. LANGLEY:     And, Judge, I would just ask that this

   11    Court not give the receiver and NLG any reason to want to go

   12    back in front of Judge Ruiz and say, you know, let's set this

   13    all aside.

   14              THE COURT:    Well, if I keep the order, which is what

   15    you want me to do, then, of course, they're going to go to

   16    Judge Ruiz.    I mean --

   17              MR. LANGLEY:     Well --

   18              THE COURT:    Of course, that's part of the reason why

   19    they're going to Judge Ruiz, presumably; right?

   20              MR. LANGLEY:     Well, but, Judge, what you said in your

   21    order is you can't, after the fact, comply with -- you know --

   22    fix the failing to comply with a Court order.

   23              There is, as of this moment, a receivership order in

   24    place, and they did not comply with that in filing this notice

   25    of appeal.    I believe that's all you need to know.




                                                                          41
Case 1:17-cv-24127-DPG Document 45 Entered on FLSD Docket 05/14/2018 Page 42 of 84
                                                                                 30


     1             I would not want to give NLG some reason to go try to

     2   settle up with the receiver and get this all set aside nunc pro

     3   tunc as an after-the-fact way to reinstate an appeal.

     4             THE COURT:    So, one thing I'm still not clear on, is

     5   the hearing tomorrow to take up these issues or is it the

     6   special set in April?

     7             MR. RAMIREZ:    He gave to us a motion calendar, because

     8   I want to argue -- just if you look at the summons, that's

     9   enough.

   10              THE COURT:    Well -- I'm going to re-set this to find

   11    out how Judge Ruiz rules.       So I just need to know how much

   12    time, is it next week, or do I need to set it in April?

   13              MR. RAMIREZ:    Well, I think if he takes it up on the

   14    motion calendar tomorrow, you can do it any time after

   15    tomorrow.

   16              But if he wants to take evidence, which I don't see

   17    why, because some of this is very clear on its face.          It's a

   18    documentary motion, it should be fairly easy, because, as a

   19    matter of law, you can't change jurisdiction over a corporation

   20    that you've had to never served.

   21              And they never served NLG Delaware.

   22              They served NLG Pennsylvania.

   23              THE COURT:    All right.    So --

   24              MR. RAMIREZ:    But I would like to add one more thing --

   25              THE COURT:    Sure.




                                                                          42
Case 1:17-cv-24127-DPG Document 45 Entered on FLSD Docket 05/14/2018 Page 43 of 84
                                                                                 31


     1              MR. RAMIREZ:   -- because they made a big point of all

     2   this.   There is nothing in the receivership order that

     3   prevented Mr. Dillworth from telling me, go ahead and continue

     4   representing NLG, I was not acting without any authority.

     5              I thought, you know, if I needed that, I would have

     6   gotten a written consent or a written authority to represent

     7   them.   Verbally, I then backed up with these e-mails, he told

     8   me I had the authority to represent NLG.         That is not in

     9   violation of the receivership or the Court order.

   10               THE COURT:   Well, he didn't say that.

   11               MR. RAMIREZ:   I'm sorry?

   12               THE COURT:   Mr. Dillworth did not say that he told you

   13    that you had the authority to represent NLG.         If you want me to

   14    ask that question right now, that's fine, but that's not what

   15    he said.

   16               MR. LANGLEY:   What he said, Judge, was that he didn't

   17    even know about the notice of appeal until after it was filed,

   18    so how could he have given consent?

   19               And, Judge, it's -- April 9th is an evidentiary

   20    hearing, which I think is required in the state court case, and

   21    I'm not sure that Genovese, or whoever else is still involved,

   22    has consented to re-setting it.

   23               THE COURT:   So, Mr. Dillworth, you've heard the

   24    argument from both sides?

   25               MR. DILLWORTH:    I have, Judge.    And again, I come back




                                                                           43
Case 1:17-cv-24127-DPG Document 45 Entered on FLSD Docket 05/14/2018 Page 44 of 84
                                                                                 32


     1   to when we had the exchange in September that is now before the

     2   Court.    My expectation was -- in standing down -- that counsel

     3   would continue to do whatever he needed to do, and so that was

     4   my understanding of what we agreed to.

     5             And all the parties to the receivership agreed to that.

     6   You now have a third party saying, well, we should have done

     7   something more.     They don't really have standing to argue in a

     8   receivership about what the parties to it decided to do.

     9             THE COURT:    But I'm still not clear what you're telling

   10    me that you agreed to do.

   11              You said that you agreed to stand down.

   12              MR. DILLWORTH:     Yes.   And again --

   13              THE COURT:    And again --

   14              MR. DILLWORTH:     -- I'm having a hard time articulating.

   15              THE COURT:    I asked you before, what is it that you

   16    thought -- what did you think that meant?

   17              MR. DILLWORTH:     Everything -- that counsel would

   18    continue doing everything they needed to do to protect and

   19    preserve the assets of NLG, of which there's only one, which is

   20    this underlying judgment.

   21              So again, getting back to, we filed this motion to

   22    intervene.    We have this dust up -- "we" being NLG's counsel

   23    and myself -- about the service of the underlying complaint

   24    that gave rise to the Genovese judgment.

   25              Exercising my discretion -- and again, I've done it




                                                                          44
Case 1:17-cv-24127-DPG Document 45 Entered on FLSD Docket 05/14/2018 Page 45 of 84
                                                                                 33


     1   over and over again -- given the facts of this case, not a

     2   different one -- I said, okay, I'm going to wait until Judge

     3   Gordo, who issued the very judgment we're arguing about, who

     4   didn't mention that judgment in her receivership order to

     5   clarify whether or not this is a real receivership.

     6             THE COURT:    So when you agreed to stand down, were you

     7   aware that Mr. Ramirez was going to represent NLG in the

     8   bankruptcy proceedings?

     9             MR. DILLWORTH:     Yes.   And that's why we withdrew our

   10    motion to intervene.      In fact, if you look at the bankruptcy

   11    record, you will see two things, my firm, Eric Silver, who is

   12    going to represent me in this small receivership case, filed a

   13    motion, and that motion suggested that my firm was going to

   14    represent me.

   15              And you will then see an amended motion almost the day

   16    after it, it wasn't immediate, because I realized that our

   17    office had filed a draft that I had changed my mind on; that

   18    given the saga that Your Honor just talked about a moment ago,

   19    and which I understood, this is a far bigger case; right?

   20              But I would have been hiring Ramirez to do whatever it

   21    would have been, and I would have been the party to have

   22    intervened, so Ramirez would now have talked to me.

   23              But given the size of the judgment, NLG's equity would

   24    still have an interest in the receivership case.          So when I

   25    withdrew that motion, consistent with my agreement to stand




                                                                          45
Case 1:17-cv-24127-DPG Document 45 Entered on FLSD Docket 05/14/2018 Page 46 of 84
                                                                                 34


     1   down -- and I regret that now, that it wasn't more formal -- it

     2   was with the idea that NLG would continue representing its

     3   interest in preserving this judgment.

     4             THE COURT:    Was there a discussion about how this

     5   should happen?     You know, typically, when -- I mean, receivers

     6   can hire lawyers to conduct litigation on behalf of the

     7   receivership estate, right.       But the lawsuits are typically --

     8   where the receiver is the plaintiff -- it is the receiver

     9   acting on behalf of X company.

   10              So -- but it wasn't the case here.       I mean, even the

   11    appeal, it's not -- it's NLG, but it's not in your name.

   12              MR. DILLWORTH:     Yes, because we withdrew the motion to

   13    intervene because of this issue about the underlying Genovese

   14    judgment.

   15              And again, it may be inartful, but it seemed like the

   16    most practical way of dealing with the very serious issue that

   17    NLG raised about the underlying judgment.

   18              And I want to speak to my colleagues, whom I know,

   19    about this meeting that occurred recently; as if to suggest

   20    that by taking that meeting I was telling Mr. Langley -- who

   21    was at the meeting -- that I was fully engaged and was going

   22    to -- we came to an agreement, we'd prosecute that plea.

   23              And I would challenge him to come tell you now that I

   24    did anything different than tell him, look, until this issue

   25    about the underlying Genovese judgment is resolved, I'm not




                                                                          46
Case 1:17-cv-24127-DPG Document 45 Entered on FLSD Docket 05/14/2018 Page 47 of 84
                                                                                 35


     1   doing anything.     Now, I can take a meeting because I am aware

     2   that parties should settle cases that are complicated.            I'm

     3   aware that there are other creditors and, frankly, in a case

     4   like this, that's all there would be to do, is to try to settle

     5   a case.    So I took the meeting, certainly.

     6             But I was very clear with them, and to suggest

     7   otherwise really is disturbing to me now.         It is clear to them

     8   that I wasn't about to do anything until this issue was

     9   resolved about the underlying Genovese judgment.

   10              And so I didn't act in any way inconsistent with what,

   11    again, what I thought the agreement was that I reached with NLG

   12    and the creditor that got me appointed.

   13              The only parties that I really have fiduciary duties to

   14    back in September, which was, okay, there's a serious issue

   15    here about the judgment, there's a serious issue that has been

   16    raised by a prominent member of the bar about service.

   17              The law is very clear, if it wasn't served, that

   18    judgment was void -- not voidable -- void.         And I had an

   19    experience in the case I referenced earlier, Your Honor, Nica,

   20    N-I-C-A, Holdings, and that case -- a little bit different

   21    facts -- went to Eleventh Circuit, I represented the Chapter 7

   22    trustee who inherited a case filed by an assignee.

   23              And there was a challenge right at the beginning of

   24    that case about that assignee's authority to file the

   25    bankruptcy, which went to the heart of the subject matter




                                                                           47
Case 1:17-cv-24127-DPG Document 45 Entered on FLSD Docket 05/14/2018 Page 48 of 84
                                                                                 36


     1   jurisdiction of the case.      The bankruptcy court found -- in

     2   that case, the bankruptcy court found, nope, he had the

     3   authority to file.

     4             And the appeal of that original order that started that

     5   Chapter 7 bankruptcy case was dismissed on appeal in the

     6   district court.     So what did my client do?      He began

     7   administering the case, a case that nobody wants, he

     8   administered the assets and, ultimately, when it got to the

     9   Eleventh Circuit, the Eleventh Circuit found that there was no

   10    authority and it undid everything -- had a cascading effect --

   11    it undid every single thing that my client had done in the

   12    bankruptcy case for two years.       Not of his fault.

   13              But my point is, it was very serious repercussions for

   14    me personally because I worked on it two years, so I'm very

   15    sensitive to the one thing that should be more important to

   16    your court, to any court appointing a receiver.

   17              If there's subject matter jurisdictions in dispute,

   18    that needs to be determined first; just like on appeal, it can

   19    be determined or looked at by any court.

   20              And when it was raised to me, it was a serious issue.

   21              The party who raised it gave, you know, validity to it.

   22    Here's a lawyer who is a former Third Circuit District Court of

   23    Appeal judge.     The law is pretty clear, there was no service,

   24    the judgment's void.

   25              My order, the receivership order, which was not




                                                                          48
Case 1:17-cv-24127-DPG Document 45 Entered on FLSD Docket 05/14/2018 Page 49 of 84
                                                                                 37


     1   conducting the hearing.      The first sentence says an ex parte

     2   order of receivership.      There's no record for me to look at,

     3   I'm very concerned --

     4             THE COURT:    Right.   I --

     5             MR. DILLWORTH:     -- and they don't have anything going

     6   on.

     7             THE COURT:    Counsel, I understand your concern, and I'm

     8   out of time.    But what you also have to own is there was a

     9   better way to handle this; and as a receiver appointed, who

   10    didn't ask to be appointed, in particular, the thing for you

   11    would have been to go to Judge Gordo immediately when you

   12    realized that there were these issues and say you may want to

   13    revisit this, because they are these problems.

   14              Because you, with competing parties, are the one

   15    independent person that can offer the Court that insight in the

   16    case, but that didn't happen here.

   17              MR. DILLWORTH:     I own that, Judge.    I did rely on the

   18    fact that there was a motion immediately filed.

   19              THE COURT:    Counsel, counsel, we're not going back and

   20    forth.    I'm done.    I'm going to re-set this in 30 days.

   21              Tomorrow, Mr. Ramirez, you can inform Judge Ruiz that

   22    I'm waiting for a ruling one way or another.

   23              And can you give me a status date?       Okay.    We'll set

   24    this for status again, and the parties can appear by telephone,

   25    on --




                                                                          49
Case 1:17-cv-24127-DPG Document 45 Entered on FLSD Docket 05/14/2018 Page 50 of 84
                                                                                 38


     1             MR. GRANT:    Your Honor, about the date, do you want to

     2   do a date after the April 9th state court hearing, or did you

     3   want to do a status conference before?        Because I know it's 30

     4   days, so we're right at the --

     5             THE COURT:    We'll set it for -- there's really no time

     6   issue in this case; right?

     7             MR. RAMIREZ:    Judge, if we get a ruling tomorrow, we

     8   would like to have the appeal reinstated and have them file

     9   the --

   10              THE COURT:    Well, I'll tell you what.      We'll set it for

   11    status on Wednesday, April 11th, at 10:00; and if there is a

   12    ruling before then, just file the order -- file a notice of

   13    filing with the order and, of course, serve the other side and

   14    then we'll take up what that means at another date.

   15              MR. RAMIREZ:    Thank you, Judge.

   16              MR. LANGLEY:    Judge, my concern would be what might

   17    happen if now NLG and the receiver enter into a consent

   18    agreement to set aside the final judgment, just so --

   19              THE COURT:    We'll figure out what happens later.        But I

   20    will say, finally, kind of knowing all of what happened here,

   21    and now understanding that Citibank is involved, it would seem

   22    that some global settlement might be in order here amongst the

   23    parties, you know.

   24              I mean, you know, so NLG didn't, obviously, do all it

   25    should have done in Florida, or New York, or in the bankruptcy




                                                                          50
Case 1:17-cv-24127-DPG Document 45 Entered on FLSD Docket 05/14/2018 Page 51 of 84
                                                                                 39


     1   court, yet for --

     2             MR. RAMIREZ:    Judge, Mr. Kosachuk has made numerous --

     3             THE COURT:    I'm not asking for a back and forth here.

     4             MR. RAMIREZ:    All right.

     5             THE COURT:    And what happened with -- I'm sorry for

     6   forgetting your name -- Ms. Hazan, I believe, and Selective

     7   Advisors, to say it seems a bit fishy, what happened in

     8   New York, you know, and the litigation down here, you know, the

     9   courts, you know, we -- as Judge Cristol did, try to make sense

   10    of these orders, but it does seem, I think, in sense of equity,

   11    not right.

   12              I haven't issued an order, but obviously, I'll make a

   13    decision finally once I know what's happened in the state

   14    court.    Maybe I'll stick with my order, maybe I won't.         I don't

   15    know yet.

   16              But I think for each side to have some finality with

   17    all this litigation, I think, perhaps you should talk it out

   18    and see if you can reach some reasonable agreement, so that's

   19    all I'm saying.

   20              We are in recess.     Thank you.

   21              MR. RAMIREZ:    Thank you, Judge.

   22              COURTROOM DEPUTY:     All rise.

   23              (Proceedings concluded at 11:24 a.m.)

   24

   25




                                                                          51
Case 1:17-cv-24127-DPG Document 45 Entered on FLSD Docket 05/14/2018 Page 52 of 84
                                                                                 40


     1

     2                          C E R T I F I C A T E

     3
                     I hereby certify that the foregoing is an
     4
                   accurate transcription of the proceedings in the
     5
                   above-entitled matter.
     6

     7
                   March 12th, 2018       /s/Glenda M. Powers
     8             DATE                     GLENDA M. POWERS, RPR, CRR, FPR
                                            United States District Court
     9                                      400 North Miami Avenue, 08S33
                                            Miami, Florida 33128
   10

   11

   12

   13

   14

   15

   16

   17

   18

   19

   20

   21

   22

   23

   24

   25




                                                                          52
Case 1:17-cv-24127-DPG Document 45 Entered on FLSD Docket 05/14/2018 Page 53 of 84
                                                                           41


                $                                           ADVISORS [2] - 1:7,       applecart [1] - 5:6         11:21, 20:14, 21:14
                                              6
                                                             1:22                     appoint [1] - 27:20        automatic [1] - 24:10
    $40,000 [1] - 12:25         6 [1] - 1:5                 Advisors [3] - 3:4,       appointed [13] - 4:13,     Avenue [2] - 2:11,
                                                             3:12, 39:7                4:23, 7:12, 7:16,          40:9
                /                             7             Advisors' [1] - 26:24      7:25, 8:6, 9:1, 19:20,    aware [5] - 11:19,
                                                            advocate [1] - 21:19       27:17, 27:18, 35:12,       27:25, 33:7, 35:1,
    /s/Glenda [1] - 40:7        7 [2] - 35:21, 36:5         after-the-fact [1] -       37:9, 37:10                35:3
                                                             30:3                     appointing [4] - 4:1,
                0                             8             agent [7] - 18:6,          14:17, 27:21, 36:16                  B
                                                             18:21, 18:22, 19:3,      appointment [4] -
    08S33 [2] - 2:11, 40:9      8000 [1] - 14:9              19:5, 19:19, 19:23        7:14, 12:10, 17:7,        backed [1] - 31:7
                                8551 [1] - 1:19             ago [4] - 13:13, 20:16,    17:16                     background [1] -
                1               8th [2] - 20:8, 22:4         22:16, 33:18             approached [1] -            24:20
                                                            agree [1] - 13:5           27:16                     backup [1] - 4:10
    1 [4] - 1:8, 22:3, 22:24,                 9             agreed [8] - 7:15,        appropriate [2] - 7:7,     bankruptcy [21] -
     23:10                                                   10:22, 15:19, 32:4,       10:23                      4:17, 5:20, 6:24, 7:6,
    10 [4] - 12:16, 22:15,      9th [4] - 19:7, 19:12,       32:5, 32:10, 32:11,      April [7] - 19:7, 19:12,    8:14, 8:15, 10:15,
     22:16, 24:7                 31:19, 38:2                 33:6                      30:6, 30:12, 31:19,        10:20, 11:19, 13:22,
    10-and-a-half [1] -                                     agreeing [1] - 9:1         38:2, 38:11                21:15, 24:9, 33:8,
     15:3                                     A             agreement [10] -          argue [5] - 18:3, 18:8,     33:10, 35:25, 36:1,
    10:00 [2] - 1:7, 38:11                                   10:17, 10:21, 12:2,       27:12, 30:8, 32:7          36:2, 36:5, 36:12,
    10:30 [1] - 1:7             a.m [4] - 1:7, 1:7,                                                               38:25
                                                             12:23, 16:4, 33:25,      arguing [1] - 33:3
    11:24 [2] - 1:7, 39:23       39:23                                                                           bar [1] - 35:16
                                                             34:22, 35:11, 38:18,     argument [3] - 12:18,
    11th [1] - 38:11            a/k/a [1] - 2:3                                                                  based [3] - 16:18,
                                                             39:18                     18:1, 31:24
    12th [1] - 40:7             A/K/A [2] - 1:7, 1:18                                                             20:1, 25:8
                                                            ahead [1] - 31:3          arguments [2] - 24:12,
    15 [1] - 10:3               above-entitled [1] -                                   24:13                     basic [1] - 24:5
                                                            aired [1] - 19:12
    17-Civil-24127 [1] -         40:5                                                                            Battista [1] - 27:20
                                                            al [1] - 3:5              arm [2] - 15:4, 15:5
     3:5                        abuse [1] - 25:8                                                                 became [4] - 11:19,
                                                            allowed [1] - 24:25       arrangement [1] -
    197 [1] - 1:23              accepted [1] - 15:20                                   17:3                       14:23, 27:24, 27:25
                                                            almost [1] - 33:15
    1992 [1] - 13:23            accepts [1] - 17:25                                   articulating [1] - 32:14   BEFORE [1] - 1:13
                                                            alone [1] - 14:20
    1:00 [1] - 20:21            accomplished [1] -                                    aside [7] - 17:17,         beg [1] - 8:8
                                                            ALSO [1] - 2:1
    1:17-CV-24127-DPG            10:5                                                  18:21, 19:17, 20:1,       began [1] - 36:6
                                                            ambiguity [1] - 6:9
     [1] - 1:2                  accurate [1] - 40:4                                    29:13, 30:2, 38:18        beginning [1] - 35:23
                                                            amended [3] - 17:11,
                                acknowledge [1] -                                     asset [5] - 5:15, 5:16,    behalf [8] - 3:15, 4:2,
                                                             17:12, 33:15
                2                14:21
                                                            AND [2] - 1:7, 1:12        7:4, 10:10, 21:5           14:18, 22:19, 23:6,
                                acquiesce [1] - 17:3                                  assets [3] - 12:12,         28:4, 34:6, 34:9
                                                            answered [1] - 20:12
    2 [1] - 22:24               acquiesced [1] -                                       32:19, 36:8               best [1] - 13:3
                                                            anyway [5] - 8:12,
    20 [1] - 10:3                15:22                                                assigned [1] - 26:2        better [2] - 12:24, 37:9
                                                             8:24, 10:18, 14:5,
    200 [1] - 1:23              acquiesces [1] - 15:23                                assignee [2] - 9:9,        between [2] - 9:18,
                                                             22:8
    2018 [2] - 1:5, 40:7        act [4] - 14:18, 27:23,                                35:22                      13:19
                                                            anyways [1] - 14:11
    27th [2] - 20:21, 21:1       28:4, 35:10                                          assignee's [1] - 35:24     bifurcated [1] - 22:22
                                                            apologize [3] - 6:5,
                                acting [3] - 22:19,                                   assignment [1] -           big [1] - 31:1
                                                             9:7, 16:11
                3                31:4, 34:9
                                                            appeal [29] - 3:24,        23:23                     bigger [1] - 33:19
                                action [2] - 10:23,                                   assumed [1] - 25:2         bit [2] - 35:20, 39:7
                                                             11:20, 12:1, 13:14,
    3 [1] - 22:24                17:22                                                                           Boca [1] - 1:24
                                                             14:5, 14:8, 15:25,       assuming [1] - 29:6
    30 [2] - 37:20, 38:3        activity [2] - 5:11, 10:4                                                        Boulevard [1] - 1:19
                                                             20:13, 21:6, 21:9,       attached [1] - 16:16
    303 [1] - 1:20              add [2] - 15:15, 30:24                                                           brief [1] - 26:24
                                                             22:2, 22:3, 23:5,        attacking [2] - 6:18,
    33128 [2] - 2:11, 40:9      addition [1] - 8:19                                                              bringing [1] - 24:18
                                                             23:13, 26:8, 26:10,       9:13
    33322 [1] - 1:20            address [1] - 18:6                                                               brought [2] - 17:23,
                                                             26:13, 27:25, 28:5,      attempted [1] - 28:7
    33432 [1] - 1:24            adjudicated [3] - 9:25,      28:10, 28:17, 29:25,                                 25:21
                                                                                      attorney [1] - 20:22
                                 10:16, 13:25                30:3, 31:17, 34:11,      attorneys [1] - 18:25      burdened [1] - 15:1
                4               administer [1] - 6:25        36:4, 36:5, 36:18,       authority [15] - 6:25,     business [1] - 5:8
                                administered [1] -           38:8                      14:18, 15:18, 15:25,      BY [1] - 2:9
    40,000 [1] - 6:11            36:8                       Appeal [1] - 36:23         16:10, 16:18, 28:4,
    400 [2] - 2:11, 40:9        administering [1] -
    47 [1] - 1:8                 36:7
                                                            APPEAL [1] - 1:12          28:19, 31:4, 31:6,                   C
                                                            appealable [1] - 22:8      31:8, 31:13, 35:24,
                                admits [1] - 27:25          appear [1] - 37:24         36:3, 36:10               calendar [6] - 17:7,
                5               adversary [2] - 13:20,      APPEARANCES [1] -         authorization [1] -         17:14, 17:25, 19:9,
                                 13:25                       1:15                      16:21                      30:7, 30:14
    57.105 [1] - 18:25          advised [1] - 20:6          appearances [1] - 3:6     authorize [4] - 11:16,     cannot [1] - 26:1




                                                                                                                                    53
Case 1:17-cv-24127-DPG Document 45 Entered on FLSD Docket 05/14/2018 Page 54 of 84
                                                                           42


    capable [2] - 15:24,        claiming [2] - 19:2,       confronted [1] - 5:23       20:17, 20:19, 21:2,      DARRIN [1] - 1:13
     23:13                       19:24                     confusion [1] - 16:11       21:15, 24:9, 24:11,      date [4] - 37:23, 38:1,
    capital [1] - 5:7           claims [8] - 12:25,        connection [1] - 5:5        24:18, 25:11, 28:3,       38:2, 38:14
    cascading [1] - 36:10        13:19, 13:24, 14:1,       consciousness [1] -         31:20, 36:1, 36:2,       DATE [1] - 40:8
    CASE [1] - 1:2               20:4, 22:19, 24:2,         6:8                        36:6, 36:16, 36:19,      DAVID [1] - 1:18
    Case [1] - 3:5               24:16                     consent [12] - 20:9,        38:2, 39:1, 39:14        David [2] - 1:19, 3:7
    case [52] - 4:17, 5:8,      clarify [1] - 33:5          20:16, 20:18, 21:3,       COURT [67] - 1:1, 3:3,    days [3] - 12:17,
     5:10, 5:15, 5:24,          clear [10] - 16:19,         21:9, 21:10, 21:21,        3:10, 3:14, 3:18,         37:20, 38:4
     6:22, 6:23, 6:24, 7:5,      21:20, 24:21, 30:4,        25:7, 28:2, 31:6,          3:22, 4:13, 4:22, 6:3,   dealing [2] - 28:19,
     7:19, 8:11, 8:12,           30:17, 32:9, 35:6,         31:18, 38:17               7:11, 7:21, 7:23, 8:5,    34:16
     10:6, 10:9, 10:15,          35:7, 35:17, 36:23        consented [2] - 22:6,       9:3, 9:5, 9:8, 9:22,     Debtor [1] - 2:3
     12:12, 19:15, 20:3,        clearcut [2] - 17:8,        31:22                      11:4, 11:7, 11:14,       Debtor's [1] - 2:4
     20:7, 20:8, 20:10,          18:4                      consistent [1] - 33:25      12:6, 14:16, 14:20,      December [4] - 20:20,
     20:11, 20:19, 21:21,       cleared [1] - 23:1         consulted [1] - 23:5        15:2, 15:13, 16:13,       21:1, 21:25
     22:22, 23:22, 24:2,        clearly [6] - 20:14,       contacted [1] - 4:22        16:18, 17:4, 17:22,      decided [1] - 32:8
     24:11, 25:19, 26:15,        21:2, 21:10, 21:18,       contending [1] - 12:20      18:8, 18:12, 19:14,      decision [3] - 14:12,
     28:11, 31:20, 33:1,         22:25, 23:13              context [2] - 4:25,         21:12, 22:7, 23:8,        26:8, 39:13
     33:12, 33:19, 33:24,       Clerk [1] - 18:5            12:6                       23:14, 23:19, 23:25,     default [3] - 6:2,
     34:10, 35:3, 35:5,         client [7] - 3:12, 6:23,   continue [8] - 12:3,        24:19, 26:7, 26:19,       12:19, 17:17
     35:19, 35:20, 35:22,        17:21, 20:21, 21:24,       13:10, 15:19, 27:12,       28:20, 28:23, 29:3,      defend [1] - 20:10
     35:24, 36:1, 36:2,          36:6, 36:11                31:3, 32:3, 32:18,         29:6, 29:14, 29:18,
                                                                                                                defendant [2] - 20:9,
     36:5, 36:7, 36:12,         closed [1] - 26:18          34:2                       30:4, 30:10, 30:23,
                                                                                                                 25:7
     37:16, 38:6                colleague [1] - 27:16      continued [3] - 15:22,      30:25, 31:10, 31:12,
                                                                                                                Defendant/Appellant
    cases [2] - 10:3, 35:2      colleagues [1] - 34:18      19:10, 25:11               31:23, 32:9, 32:13,
                                                                                                                 [1] - 1:4
    caused [1] - 16:11          comfortable [1] - 9:21     continues [1] - 28:5        32:15, 33:6, 34:4,
                                                                                                                Delaware [2] - 17:12,
    certain [2] - 11:8,         coming [1] - 7:24                                      37:4, 37:7, 37:19,
                                                           corporation [6] - 17:9,                               30:21
     22:20                                                                             38:5, 38:10, 38:19,
                                committed [1] - 19:24       17:10, 17:12, 17:13,                                delay [1] - 16:12
    certainly [6] - 14:11,                                                             39:3, 39:5
                                company [1] - 34:9          18:5, 30:19                                         denies [1] - 28:22
     20:14, 23:4, 29:2,                                                               Court's [1] - 8:23
                                competing [1] - 37:14      correct [1] - 4:2                                    deny [1] - 17:19
     29:4, 35:5                                                                       court's [1] - 6:20
                                complaint [9] - 6:1,       costs [1] - 18:25                                    DEPUTY [3] - 3:2, 3:4,
    certify [1] - 40:3                                                                court-appointed [1] -
                                 6:3, 6:18, 7:13, 11:2,    counsel [23] - 3:6, 4:7,                              39:22
    challenge [3] - 7:1,                                                               7:16
                                 12:19, 13:7, 17:11,        4:17, 5:24, 6:13,                                   detailed [1] - 27:9
     34:23, 35:23                32:23                      8:17, 10:18, 11:16,       COURTROOM [3] -
                                                                                                                determine [2] - 5:8,
    challenging [1] - 5:20                                  12:11, 15:2, 16:5,         3:2, 3:4, 39:22
                                completely [4] -                                                                 5:12
    chance [1] - 19:25           21:19, 22:18, 22:21,       16:7, 18:14, 19:2,        courtroom [1] - 3:9
                                                                                                                determined [3] - 5:18,
    change [2] - 19:11,          22:23                      20:9, 24:17, 32:2,        courts [1] - 39:9
                                                                                                                 36:18, 36:19
     30:19                      complicated [3] - 4:5,      32:17, 32:22, 37:7,       cover [1] - 16:24
                                                                                                                different [11] - 7:19,
    changed [3] - 19:3,          24:6, 35:2                 37:19                     create [1] - 26:14
                                                                                                                 8:11, 12:15, 18:20,
     19:19, 33:17               comply [4] - 21:8,         country [1] - 16:23        creditor [8] - 4:15,
                                                                                                                 25:23, 27:4, 33:2,
    changes [2] - 7:4,           29:21, 29:22, 29:24       Counts [1] - 22:24          4:16, 8:25, 9:5,
                                                                                                                 34:24, 35:20
     29:5                       compressing [1] -          county [1] - 15:2           12:25, 23:3, 23:7,
                                                                                                                DILLWORTH [28] -
    changing [2] - 17:11,        27:9                      couple [3] - 13:1,          35:12
                                                                                                                 3:20, 4:4, 4:14, 4:24,
     19:21                      concern [3] - 24:6,         18:18, 19:13              creditors [2] - 6:11,
                                                                                                                 6:5, 7:18, 7:22, 8:4,
    Chapter [2] - 35:21,         37:7, 38:16               course [5] - 8:1,           35:3
                                                                                                                 8:8, 9:4, 9:7, 9:9,
     36:5                       concerned [1] - 37:3        20:23, 29:15, 29:18,      Cristol [13] - 15:16,
                                                                                                                 9:24, 11:5, 11:8,
    charging [1] - 25:4         concerning [2] - 4:8,       38:13                      15:19, 15:20, 15:24,
                                                                                                                 11:18, 12:9, 14:19,
    Chase [3] - 20:4, 20:6,      23:11                     Court [22] - 2:10, 2:10,    17:2, 22:2, 27:1,
                                                                                                                 14:21, 15:4, 31:25,
     21:21                                                  3:1, 4:21, 5:3, 5:4,       27:2, 27:3, 27:5,
                                concluded [5] - 5:14,                                                            32:12, 32:14, 32:17,
    chase [1] - 11:14                                       5:17, 5:21, 8:6,           27:8, 27:10, 39:9
                                 5:15, 5:22, 11:19,                                                              33:9, 34:12, 37:5,
    Chris [2] - 2:2, 3:17                                   10:25, 15:5, 15:6,        Cristol's [1] - 22:7
                                 39:23                                                                           37:17
    Christopher [1] - 19:1      conclusion [1] - 27:1       20:7, 25:16, 27:10,       CRR [2] - 2:9, 40:8       Dillworth [18] - 3:21,
    Circuit [6] - 6:23, 20:7,   condition [1] - 8:21        29:11, 29:22, 31:9,       cure [1] - 28:7            4:1, 15:21, 16:5,
     35:21, 36:9, 36:22         conduct [2] - 11:16,        32:2, 36:22, 37:15,       curious [3] - 10:13,       18:24, 20:8, 20:12,
    circuit [2] - 7:5, 15:2      34:6                       40:8                       23:14, 24:21              20:22, 20:25, 21:13,
    circumstances [1] -         conducting [1] - 37:1      court [39] - 3:25, 4:11,   current [1] - 20:9         22:4, 22:8, 22:13,
     9:11                       conference [2] -            5:12, 5:19, 5:21, 7:6,    cut [1] - 11:14            27:21, 27:25, 31:3,
    Citibank [1] - 38:21         20:23, 38:3                7:8, 7:16, 8:14, 8:16,                               31:12, 31:23
    claim [2] - 6:14, 24:18     conferenced [1] - 23:4      9:12, 9:15, 9:25,                    D              Dillworth's [1] - 27:16
    claimed [2] - 18:21,        confession [1] - 24:24      10:19, 10:20, 11:19,                                directed [1] - 6:25
                                                            14:25, 17:21, 20:3,       Dade [2] - 6:13, 20:7
     20:3                       confirms [1] - 12:5                                                             disagreed [1] - 24:13




                                                                                                                                  54
Case 1:17-cv-24127-DPG Document 45 Entered on FLSD Docket 05/14/2018 Page 55 of 84
                                                                           43


    disagreement [1] -         35:21, 36:9               fault [1] - 36:12            26:17                    grants [1] - 28:23
     12:18                    eliminated [1] - 23:2      February [1] - 20:8        foregoing [1] - 40:3       GROUP [2] - 1:7, 1:22
    discretion [2] - 15:6,    Elizabeth [2] - 2:3, 3:8   Federal [1] - 1:23         forgetting [1] - 39:6      Group [2] - 3:5, 3:12
     32:25                    ELIZABETH [2] - 1:7,       federal [3] - 24:11,       formal [3] - 12:23,        guess [3] - 15:14,
    discussion [2] -           1:19                        24:12, 24:18               16:4, 34:1                19:10, 28:15
     22:12, 34:4              emergency [1] - 10:8       fees [2] - 17:20, 18:25    former [3] - 5:24, 6:14,   guys [1] - 14:4
    discussions [4] -         ended [2] - 17:13,         felt [1] - 15:10             36:22
     12:8, 13:8, 20:24,        23:10                     few [2] - 22:20, 27:9      forth [3] - 9:18, 37:20,              H
     21:1                     engaged [1] - 34:21        fiduciary [1] - 35:13        39:3
    dismiss [1] - 25:19       enter [1] - 38:17          figure [1] - 38:19         forward [1] - 12:24        half [1] - 6:15
    dismissed [3] - 24:16,    entered [7] - 4:11,        file [12] - 18:23, 23:5,   four [1] - 26:17           handle [2] - 28:10,
     25:15, 36:5               4:18, 6:21, 9:14,           28:2, 28:10, 28:15,      FPR [2] - 2:9, 40:8         37:9
    DISMISSING [1] - 1:12      14:22, 22:2, 22:25          28:18, 35:24, 36:3,      frankly [2] - 10:22,       hard [2] - 6:7, 32:14
    dismissing [1] - 3:24     entire [1] - 16:16           38:8, 38:12                35:3                     Hashanah [1] - 4:8
    dispute [2] - 11:1,       entitled [2] - 17:19,      filed [34] - 4:15, 6:3,    fraud [2] - 19:24,         Hazan [6] - 2:3, 3:8,
     36:17                     40:5                        6:25, 7:13, 9:12,          24:15                     13:2, 39:6
    District [4] - 2:10,      equity [2] - 33:23,          9:19, 11:22, 13:7,       fraudulent [1] - 26:3      HAZAN [4] - 1:7, 1:18,
     26:13, 36:22, 40:8        39:10                       13:14, 14:3, 15:11,      fraudulently [1] - 26:1     1:19
    DISTRICT [3] - 1:1,       Equity [1] - 5:24            17:11, 18:2, 19:4,       frivolous [1] - 24:18      Hazan's [2] - 20:4,
     1:1, 1:14                Eric [2] - 15:16, 33:11      19:6, 19:20, 20:7,       FROM [1] - 1:12             20:5
    district [1] - 36:6       ESQ [3] - 1:17, 1:18,        20:8, 20:13, 20:16,      front [7] - 15:16,         hear [1] - 10:25
    disturbing [1] - 35:7      1:22                        21:10, 22:3, 22:5,         15:23, 25:21, 26:25,     heard [7] - 9:15, 11:4,
    division [1] - 11:7       estate [1] - 34:7            23:8, 24:10, 25:3,         27:2, 28:18, 29:12        11:5, 18:19, 19:16,
    DIVISION [1] - 1:2        et [1] - 3:5                 27:19, 28:1, 31:17,      full [2] - 15:25, 26:5      26:11, 31:23
    documentary [1] -         evidence [1] - 30:16         32:21, 33:12, 33:17,     fully [1] - 34:21          HEARING [1] - 1:11
     30:18                    evidentiary [4] - 5:13,      35:22, 37:18             furious [1] - 7:24         hearing [23] - 4:12,
    dollars [3] - 13:1,        8:20, 9:16, 31:19         filing [7] - 8:20, 9:1,                                4:18, 5:1, 8:20, 8:22,
                                                           13:13, 21:9, 28:8,                                   9:16, 10:8, 11:13,
     13:2, 25:8               ex [2] - 4:14, 37:1                                              G
    domesticated [2] -        exact [1] - 12:21            29:24, 38:13                                         14:22, 15:16, 16:23,
     23:21, 25:17             exactly [2] - 7:19, 9:22   final [23] - 4:20, 5:16,   Gayles [1] - 3:20           17:22, 18:13, 19:10,
    done [11] - 7:20, 8:13,   exception [1] - 14:7         13:16, 13:17, 18:21,     GAYLES [1] - 1:13           19:11, 19:15, 25:12,
     12:21, 13:11, 22:20,     excerpt [1] - 16:14          19:17, 20:1, 21:6,       Genovese [24] - 6:3,        27:18, 27:19, 30:5,
     28:4, 32:6, 32:25,       exchange [1] - 32:1          22:3, 22:8, 22:14,        6:11, 7:13, 9:6, 9:9,      31:20, 37:1, 38:2
     36:11, 37:20, 38:25      exchanged [1] - 15:21        22:25, 23:9, 23:10,       9:18, 10:22, 13:7,        heart [3] - 6:19, 11:25,
    down [19] - 8:22, 9:1,    executed [2] - 23:22,        23:13, 23:24, 24:7,       15:12, 17:19, 17:23,       35:25
     9:10, 9:21, 9:23,         23:23                       24:13, 24:14, 25:23,      18:22, 18:24, 19:6,       hereby [1] - 40:3
     10:21, 11:15, 12:3,                                   27:6, 27:11, 38:18        19:15, 19:18, 27:19,      hesitate [1] - 15:5
                              exercising [2] - 15:6,
     12:7, 13:5, 13:9,         32:25                     finality [1] - 39:16        27:20, 28:14, 31:21,      Highway [1] - 1:23
     14:13, 21:19, 28:16,     exhibit [1] - 16:17        finally [3] - 25:11,        32:24, 34:13, 34:25,      hire [1] - 34:6
     32:2, 32:11, 33:6,                                    38:20, 39:13              35:9                      hired [1] - 10:18
                              expectation [1] - 32:2
     34:1, 39:8                                          fine [1] - 31:14           gentleman [1] - 19:1       hiring [1] - 33:20
                              experience [1] - 35:19
    draft [1] - 33:17                                    finish [1] - 13:12         Gentlemen [1] - 27:5       history [1] - 27:9
                              experienced [1] - 8:3
    drafted [1] - 27:21                                  firm [4] - 6:11, 13:7,     given [7] - 10:23,         holder [1] - 10:22
                              explain [2] - 14:14,
    Drew [3] - 3:21, 20:25,                                33:11, 33:13              12:24, 15:21, 31:18,      Holdings [2] - 6:23,
                               14:17
     27:16                                               first [10] - 8:1, 11:19,    33:1, 33:18, 33:23         35:20
                              eyes [1] - 5:4
    due [1] - 26:4                                         14:4, 14:10, 17:10,      GLENDA [2] - 2:9,          holiday [1] - 4:8
    dust [1] - 32:22                                       18:19, 20:4, 26:12,       40:8                      Honor [21] - 3:7, 3:11,
                                          F                36:18, 37:1              global [1] - 38:22          4:6, 6:5, 6:6, 7:18,
    duties [1] - 35:13
                              face [1] - 30:17           fish [1] - 12:14           Gordo [11] - 7:8, 7:11,     8:8, 11:10, 14:11,
               E              fact [9] - 12:24, 15:22,   fishy [1] - 39:7            10:7, 10:11, 11:8,         15:5, 26:23, 27:13,
                                21:21, 21:24, 27:1,      five [2] - 13:2, 25:8       11:12, 14:24, 21:20,       27:18, 28:6, 28:13,
    e-mails [3] - 4:6,          29:21, 30:3, 33:10,      fix [1] - 29:22             25:21, 33:3, 37:11         28:19, 29:1, 29:9,
     15:21, 31:7                37:18                    FLORIDA [1] - 1:1          Gordo's [4] - 14:17,        33:18, 35:19, 38:1
    ears [1] - 5:4            facts [5] - 7:19, 13:22,   Florida [6] - 1:4, 1:20,    18:14, 21:8, 28:24        Honor's [2] - 3:21,
    easy [1] - 30:18            14:23, 33:1, 35:21         1:24, 2:11, 38:25,       GRANT [8] - 1:22,           11:25
    effect [2] - 18:17,       failing [1] - 29:22          40:9                      3:11, 26:23, 28:22,       HONORABLE [1] -
     36:10                    fairly [1] - 30:18         FOR [5] - 1:12, 1:12,       29:1, 29:4, 29:8,          1:13
    effectively [1] - 7:9     familiar [3] - 8:17,         1:17, 1:18, 1:22          38:1                      houle [1] - 25:6
    eight [2] - 13:24, 14:1     14:23, 18:23             foreclosure [5] - 4:20,    Grant [3] - 1:22, 3:11,    hours [1] - 23:17
    Eleventh [4] - 6:23,      far [2] - 23:5, 33:19        20:5, 25:24, 26:14,       20:21                     hundred [2] - 6:13,




                                                                                                                                  55
Case 1:17-cv-24127-DPG Document 45 Entered on FLSD Docket 05/14/2018 Page 56 of 84
                                                                           44


     13:1                      issued [13] - 4:12,          13:17, 13:25, 14:1,      learned [2] - 19:8,        meaning [1] - 5:24
    Husband [1] - 2:4            4:19, 5:2, 10:11,          15:12, 17:17, 18:15,       28:1                     means [2] - 21:6,
                                 17:9, 18:5, 24:16,         18:21, 19:17, 20:1,      least [1] - 8:9             38:14
                I                27:10, 27:11, 28:24,       21:6, 22:3, 22:25,       leave [1] - 28:25          meant [3] - 9:24, 12:3,
                                 33:3, 39:12                23:8, 23:9, 23:10,       leaving [1] - 28:11         32:16
    idea [2] - 4:14, 34:2      issues [8] - 7:12, 7:14,     23:13, 23:20, 23:21,     led [3] - 5:13, 12:19,     Meehan [3] - 2:4, 3:12,
    identify [1] - 10:10         22:23, 23:15, 26:25,       23:24, 24:7, 24:13,        12:20                     20:21
    immediate [2] - 12:16,       27:12, 30:5, 37:12         24:24, 25:7, 25:9,       left [1] - 27:17           meeting [7] - 20:25,
      33:16                                                 25:13, 25:17, 25:18,     less [1] - 6:16             21:24, 34:19, 34:20,
    immediately [11] -                    J                 25:23, 25:25, 26:2,      letting [1] - 23:5          34:21, 35:1, 35:5
      5:11, 5:23, 8:21,                                     26:5, 26:6, 26:11,       lien [3] - 22:15, 22:21,   member [3] - 3:16,
      9:12, 10:5, 10:7,        Joblove [7] - 6:4,           26:24, 27:4, 27:11,        23:12                     35:16
      12:9, 14:23, 27:17,        7:13, 9:6, 17:23,          28:14, 32:20, 32:24,     litany [1] - 25:22         mention [1] - 33:4
      37:11, 37:18               19:15, 27:19, 27:20        33:3, 33:4, 33:23,       litigate [1] - 12:3        mentioned [1] - 10:12
    important [1] - 36:15      Joblove's [1] - 18:24        34:3, 34:14, 34:17,      litigated [1] - 26:25      met [1] - 20:21
    inartful [1] - 34:15       Joe [1] - 3:11               34:25, 35:9, 35:15,      litigation [27] - 5:6,     MIAMI [1] - 1:2
    incidentally [2] - 4:16,   JOEY [1] - 1:22              35:18, 38:18               5:18, 5:19, 7:4,         Miami [7] - 1:4, 2:11,
      26:12                    joining [1] - 3:16         judgment's [1] - 36:24       11:17, 11:18, 12:7,       2:11, 6:13, 20:7,
    included [1] - 16:13       JUAN [1] - 1:17            jurisdiction [6] - 6:20,     13:4, 13:9, 13:16,        40:9, 40:9
    including [1] - 24:9       Juan [1] - 3:15              7:6, 8:23, 9:13,           14:3, 14:6, 15:1,        Miami-Dade [2] - 6:13,
    inconsistent [1] -         judge [13] - 4:18, 4:19,     30:19, 36:1                21:15, 22:16, 23:11,      20:7
      35:10                      5:2, 7:8, 11:7, 15:2,    jurisdictions [3] -          23:15, 24:1, 24:22,      MICHAEL [1] - 1:22
    independent [1] -            15:15, 22:22, 24:12,       25:23, 27:4, 36:17         25:22, 26:5, 26:20,      microphone [2] - 4:3,
      37:15                      25:14, 26:3, 36:23,                                   29:7, 29:8, 34:6,         22:13
    indicating [2] - 16:21,      38:16                               K                 39:8, 39:17              middle [1] - 11:11
      28:11                    JUDGE [1] - 1:14                                      lived [1] - 6:22           might [4] - 6:6, 11:9,
    indulgence [1] - 8:9       Judge [73] - 3:20, 4:4,    keep [1] - 29:14
                                                                                     living [1] - 8:10           38:16, 38:22
    inform [1] - 37:21           7:8, 7:11, 7:12, 10:7,   keeps [1] - 28:14
                                                                                     Liza [1] - 2:3             million [3] - 6:16,
    information [1] - 27:8       10:11, 11:8, 11:9,       kind [8] - 4:25, 5:8,
                                                                                     LIZA [2] - 1:7, 1:18        13:2, 25:8
    inherited [2] - 6:24,        11:10, 11:12, 14:17,      5:10, 5:14, 10:8,
                                                                                     LLC [9] - 1:4, 1:7,        mind [8] - 8:24, 9:23,
      35:22                      14:24, 15:16, 15:19,      10:9, 16:20, 38:20
                                                                                       1:17, 1:22, 2:2, 3:4,     9:24, 11:23, 12:2,
    insight [1] - 37:15          15:20, 15:24, 17:2,      knowing [5] - 5:1, 6:6,
                                                                                       3:5, 3:16, 18:5           13:9, 13:10, 33:17
    instead [3] - 28:4,          17:23, 18:13, 18:14,      13:3, 38:20
                                                                                     look [10] - 6:17, 8:15,    minute [3] - 9:3,
      28:5, 28:11                18:16, 18:23, 19:8,      Kosachuk [8] - 2:2,
                                                                                       14:25, 22:14, 25:10,      19:14, 25:13
    interest [2] - 33:24,        19:13, 19:25, 20:2,       3:17, 16:9, 19:1,
                                                                                       25:18, 30:8, 33:10,      moment [5] - 4:10,
      34:3                       20:17, 21:8, 21:18,       19:2, 19:22, 22:19,
                                                                                       34:24, 37:2               13:13, 23:7, 29:23,
    interfere [1] - 7:9          21:20, 21:23, 22:1,       39:2
                                                                                     looked [1] - 36:19          33:18
    interlocutory [4] -          22:2, 22:7, 22:10,                                  Lopez [3] - 23:22,         monetized [1] - 12:15
      13:18, 14:2, 14:5,         22:25, 23:5, 23:12,                 L                 25:17, 26:3              month [1] - 20:16
      14:8                       23:22, 24:4, 24:6,
                                                                                                                months [1] - 27:9
                                 25:16, 25:18, 25:21,     LANGLEY [15] - 1:18,
    interrupt [1] - 15:5
                                 27:1, 27:2, 27:3,          3:7, 18:16, 19:16,                  M               moot [2] - 18:15, 26:6
    intervene [5] - 8:14,                                                                                       morning [5] - 3:7,
                                 27:5, 27:8, 27:10,         21:18, 22:10, 23:10,
      12:5, 32:22, 33:10,                                                            magic [1] - 21:12           3:11, 3:15, 3:20,
                                 28:20, 28:24, 29:10,       23:17, 23:20, 24:5,
      34:13                                                                          mails [3] - 4:6, 15:21,     3:22
                                 29:12, 29:16, 29:19,       29:10, 29:17, 29:20,
    intervened [3] - 8:16,                                                            31:7                      mortgage [5] - 20:3,
                                 29:20, 30:11, 31:16,       31:16, 38:16
      13:4, 33:22                                                                    managed [1] - 26:14         20:5, 22:16, 23:2,
                                 31:19, 31:25, 33:2,      Langley [5] - 1:19,
    investigated [1] - 5:6                                                           managing [1] - 3:16         23:24
                                 37:11, 37:17, 37:21,       3:7, 16:25, 24:4,
    involved [4] - 9:17,                                                             March [1] - 1:5            most [2] - 10:23,
                                 38:7, 38:15, 39:2,         34:20
      24:3, 31:21, 38:21                                                             march [1] - 40:7            34:16
                                 39:9, 39:21              last [1] - 7:7
    involving [1] - 23:14                                                            Marshall [1] - 1:22        motion [39] - 3:23,
                               judges [2] - 19:11,        late [2] - 20:20, 22:10
    issue [28] - 8:22, 9:25,                                                         matter [8] - 6:20, 7:6,     4:15, 8:21, 9:2, 9:12,
                                 27:6                     law [5] - 24:25, 25:4,
      10:10, 10:14, 13:6,                                                             7:9, 10:15, 30:19,         9:19, 11:1, 12:5,
                               judgment [77] - 4:12,        30:19, 35:17, 36:23
      13:19, 15:11, 15:17,                                                            35:25, 36:17, 40:5         14:8, 15:11, 16:14,
                                 4:15, 4:16, 4:20, 5:3,   lawsuit [1] - 19:19
      16:8, 16:25, 22:7,                                                             mattered [1] - 20:12        17:6, 17:7, 17:8,
                                 5:16, 5:19, 5:20, 6:2,   lawsuits [1] - 34:7
      22:11, 22:15, 22:21,                                                           matters [1] - 21:7          17:14, 17:25, 18:2,
                                 6:12, 6:17, 6:19,        lawyer [3] - 6:14,
      23:1, 23:9, 23:11,                                                             mean [12] - 6:3, 7:15,      18:21, 18:24, 19:4,
                                 6:21, 9:10, 9:13,          13:22, 36:22
      23:12, 26:19, 28:19,                                                            8:2, 9:22, 10:25,          19:7, 19:9, 19:17,
                                 9:18, 9:20, 10:1,        lawyers [2] - 13:5,
      34:13, 34:16, 34:24,                                                            17:4, 18:9, 21:18,         27:19, 28:2, 28:8,
                                 10:11, 10:15, 10:22,       34:6
      35:8, 35:14, 35:15,                                                             29:16, 34:5, 34:10,        28:23, 30:7, 30:14,
                                 12:19, 12:25, 13:1,      learn [1] - 28:1
      36:20, 38:6                                                                     38:24                      30:18, 32:21, 33:10,




                                                                                                                                  56
Case 1:17-cv-24127-DPG Document 45 Entered on FLSD Docket 05/14/2018 Page 57 of 84
                                                                           45


     33:13, 33:15, 33:25,      2:2, 3:16, 4:2, 4:17,    OF [1] - 1:1               passed [1] - 27:13         proceeding [4] - 4:20,
     34:12, 37:18              5:7, 5:16, 5:24, 6:11,   offer [1] - 37:15          past [1] - 22:20            5:13, 13:20, 17:21
    MOTION [2] - 1:11,         6:14, 6:15, 8:20, 9:1,   office [1] - 33:17         path [1] - 12:24           proceedings [4] -
     1:12                      9:12, 9:18, 10:11,       Official [1] - 2:10        pending [3] - 5:5,          16:12, 33:8, 39:23,
    moved [1] - 18:12          12:3, 12:11, 12:20,      once [2] - 27:17, 39:13     20:6, 26:13                40:4
    MR [70] - 3:7, 3:11,       13:7, 13:10, 14:18,      one [13] - 11:3, 17:4,     Pennsylvania [6] -         process [4] - 8:14,
     3:15, 3:19, 3:20, 4:4,    15:11, 15:18, 15:20,      17:18, 22:10, 26:23,       17:10, 17:13, 18:5,        12:7, 25:8, 26:4
     4:14, 4:24, 6:5, 7:18,    15:25, 16:1, 16:5,        28:7, 30:4, 30:24,         25:3, 25:4, 30:22         procured [1] - 24:14
     7:22, 8:4, 8:8, 9:4,      16:6, 16:8, 16:9,         32:19, 33:2, 36:15,       perfectly [1] - 15:24      prohibit [2] - 21:14,
     9:7, 9:9, 9:24, 11:5,     17:1, 17:10, 17:11,       37:14, 37:22              perhaps [2] - 16:20,        21:16
     11:8, 11:10, 11:18,       17:13, 18:5, 19:1,       ongoing [1] - 21:1          39:17                     prominent [1] - 35:16
     12:9, 14:19, 14:21,       19:15, 19:22, 20:3,      oppose [1] - 9:10          permission [1] - 21:22     pronouns [1] - 9:7
     15:4, 15:15, 16:16,       20:9, 20:17, 21:5,       opposed [1] - 18:20        person [1] - 37:15         property [3] - 20:4,
     16:22, 17:6, 17:25,       21:7, 21:23, 22:20,      ORDER [1] - 1:12           personally [2] - 22:19,     20:5, 23:1
     18:16, 19:16, 21:18,      23:3, 23:6, 23:7,        order [53] - 3:1, 3:21,     36:14                     prosecute [1] - 34:22
     22:10, 23:10, 23:17,      23:16, 23:21, 23:22,      3:24, 3:25, 4:19, 5:2,    place [2] - 14:10,         protect [1] - 32:18
     23:20, 24:3, 24:5,        23:23, 24:14, 26:8,       6:1, 9:14, 9:20, 10:2,     29:24                     purchased [1] - 20:4
     24:23, 26:10, 26:23,      28:9, 28:10, 29:11,       10:12, 10:25, 12:10,      placed [1] - 5:20          pursuant [2] - 3:21,
     28:22, 29:1, 29:4,        30:1, 30:21, 30:22,       12:20, 13:18, 14:17,      plaintiff [2] - 25:7,       18:25
     29:8, 29:10, 29:17,       31:4, 31:8, 31:13,        15:9, 18:14, 18:17,        34:8                      pursue [1] - 14:8
     29:20, 30:7, 30:13,       32:19, 33:7, 34:2,        19:3, 19:21, 20:6,        plaintiffs/Appellees       put [1] - 4:6
     30:24, 31:1, 31:11,       34:11, 34:17, 35:11,      20:14, 21:8, 21:21,        [1] - 1:8
     31:16, 31:25, 32:12,      38:17, 38:24
     32:14, 32:17, 33:9,      nLG [1] - 3:4
                                                         22:7, 22:8, 24:16,        Plantation [1] - 1:20                Q
                                                         24:20, 25:4, 26:19,       plea [1] - 34:22
     34:12, 37:5, 37:17,      NLG's [8] - 1:12, 3:23,    27:3, 27:14, 27:21,                                  Quebec [2] - 25:1,
                                                                                   point [13] - 13:12,
     38:1, 38:7, 38:15,        4:7, 10:17, 11:16,        28:6, 28:7, 28:24,                                    26:2
                                                                                    18:18, 19:13, 20:2,
     38:16, 39:2, 39:4,        28:23, 32:22, 33:23       29:14, 29:21, 29:22,                                 questioned [1] - 22:8
                                                                                    20:20, 22:12, 26:24,
     39:21                    NO [1] - 1:2               29:23, 31:2, 31:9,                                   questions [1] - 6:6
                                                                                    27:14, 27:24, 28:13,
                              nobody [2] - 22:1,         33:4, 36:4, 36:25,         28:15, 31:1, 36:13        quickly [3] - 5:14,
               N               36:7                      37:2, 38:12, 38:13,       pointed [1] - 28:6          5:15, 24:23
                              North [2] - 2:11, 40:9     38:22, 39:12, 39:14       points [1] - 21:5
    name [3] - 25:6, 34:11,   notarized [1] - 16:4
     39:6                     note [3] - 22:15, 23:2,
                                                        orders [2] - 24:21,        position [1] - 25:25                 R
                                                         39:10                     possibility [1] - 16:3
    names [1] - 9:8            23:23                    original [1] - 36:4                                   raise [1] - 22:11
                                                                                   possibly [1] - 22:5
    need [5] - 12:13,         nothing [6] - 7:10,       otherwise [3] - 5:12,                                 raised [7] - 15:17,
                                                                                   post [1] - 4:12
     21:22, 29:25, 30:11,      8:12, 8:24, 9:24,         10:18, 35:7                                           16:25, 22:12, 34:17,
                                                                                   post-judgment [1] -
     30:12                     22:4, 31:2               outright [1] - 19:24                                   35:16, 36:20, 36:21
                                                                                    4:12
    needed [7] - 8:25,        nothing's [1] - 28:4      overly [1] - 15:1                                     Ramirez [15] - 3:15,
                                                                                   Powers [1] - 40:7
     10:4, 13:11, 20:18,      notice [8] - 13:14,       own [2] - 37:8, 37:17                                  4:17, 6:14, 8:17,
     31:5, 32:3, 32:18                                                             POWERS [2] - 2:9,
                               17:21, 20:13, 21:9,      owns [1] - 10:11                                       15:14, 18:19, 18:23,
                                                                                    40:8
    needs [4] - 5:9, 5:11,     22:3, 29:24, 31:17,                                                             19:8, 20:17, 21:23,
                                                                                   practical [1] - 34:16
     12:14, 36:18              38:12
    negatively [1] - 14:12
                                                                   P               predecessor [1] - 25:1      23:5, 33:7, 33:20,
                              November [3] - 22:3,                                                             33:22, 37:21
    neglected [1] - 21:7                                                           prepare [1] - 6:7
                               22:4, 23:10              P.L [1] - 1:22                                        RAMIREZ [23] - 1:17,
    Neil [1] - 2:4                                                                 PRESENT [1] - 2:1
                              nowhere [1] - 27:22       page [1] - 16:13                                       3:15, 3:19, 11:10,
    never [12] - 7:1, 7:6,                                                         preserve [1] - 32:19
                              Number [1] - 3:5          Pages [1] - 1:8                                        15:15, 16:16, 16:22,
     7:15, 17:12, 18:2,                                                            preserving [1] - 34:3
                              numerous [2] - 25:11,     part [2] - 11:11, 29:18                                17:6, 17:25, 18:11,
     26:5, 26:11, 27:14,                                                           presumably [1] -
                               39:2                     parte [2] - 4:14, 37:1                                 24:3, 24:23, 26:10,
     28:7, 29:2, 30:20,                                                             29:19
                              nunc [3] - 28:24, 29:1,   partial [1] - 14:1                                     30:7, 30:13, 30:24,
     30:21                                                                         pretty [2] - 18:4, 36:23
                               30:2                     particular [2] - 13:21,                                31:1, 31:11, 38:7,
    New [15] - 23:16,                                                              prevented [1] - 31:3
                                                         37:10                                                 38:15, 39:2, 39:4,
     24:11, 24:17, 24:24,                                                          principal [1] - 4:7
                                        O               particularly [1] - 15:10
                                                                                   pro [3] - 28:24, 29:1,
                                                                                                               39:21
     24:25, 25:5, 25:10,                                                                                      Raton [1] - 1:24
                                                        parties [13] - 12:8,
     25:14, 26:1, 26:4,       obtained [6] - 4:15,                                  30:2
                                                         12:11, 13:19, 23:11,                                 re [4] - 27:12, 30:10,
     26:9, 27:4, 38:25,        4:16, 23:21, 24:25,                                 problem [5] - 8:6,
                                                         27:10, 28:3, 32:5,                                    31:22, 37:20
     39:8                      25:3, 26:1                                           11:11, 16:10, 26:7,
                                                         32:8, 35:2, 35:13,                                   re-argue [1] - 27:12
    next [1] - 30:12          obviously [4] - 8:10,                                 28:16
                                                         37:14, 37:24, 38:23                                  re-set [2] - 30:10,
    Nica [2] - 6:23, 35:19     17:4, 38:24, 39:12                                  problems [3] - 7:25,
                                                        party [8] - 5:23, 16:7,                                37:20
    NICA [1] - 35:20          occurred [2] - 4:7,                                   17:15, 37:13
                                                         25:5, 29:7, 29:8,                                    re-setting [1] - 31:22
    NLG [74] - 1:4, 1:17,      34:19                                               procedure [1] - 14:8
                                                         32:6, 33:21, 36:21                                   reach [1] - 39:18




                                                                                                                                57
Case 1:17-cv-24127-DPG Document 45 Entered on FLSD Docket 05/14/2018 Page 58 of 84
                                                                           46


    reached [9] - 10:17,        registration [1] -           rotting [1] - 12:14         30:22, 35:17               27:22
     10:21, 12:9, 12:11,          19:22                      roughly [4] - 6:15,        service [12] - 5:25,       spent [1] - 27:9
     12:23, 14:12, 14:15,       regret [1] - 34:1             12:25, 13:2, 13:22         6:1, 6:18, 7:13, 11:2,    square [1] - 17:18
     25:7, 35:11                reinstate [1] - 30:3         RPR [2] - 2:9, 40:8         12:19, 13:6, 14:24,       stage [1] - 13:16
    read [1] - 13:16            reinstated [1] - 38:8        Ruiz [13] - 11:9, 11:10,    32:23, 35:16, 36:23       stand [13] - 8:22, 9:1,
    real [2] - 21:5, 33:5       REINSTATEMENT [1]             11:12, 17:23, 18:13,      serving [1] - 17:13         10:21, 11:15, 12:3,
    realized [6] - 6:10,          - 1:12                      18:14, 19:25, 28:20,      set [20] - 14:23, 17:17,    13:5, 13:9, 14:12,
     12:17, 20:18, 33:16,       reinstatement [1] -           29:12, 29:16, 29:19,       18:9, 18:21, 19:7,         21:19, 26:21, 32:11,
     37:12                        3:24                        30:11, 37:21               19:9, 19:11, 19:14,        33:6, 33:25
    really [11] - 7:15, 8:25,   RELIEF [1] - 1:12            Rule [1] - 14:9             19:17, 20:1, 29:12,       standing [8] - 9:10,
     11:24, 13:9, 15:1,         relief [2] - 3:23, 16:14     rules [1] - 30:11           30:2, 30:6, 30:10,         9:21, 9:22, 12:6,
     15:6, 24:6, 32:7,          rely [1] - 37:17             ruling [4] - 27:3,          30:12, 37:20, 37:23,       16:8, 17:1, 32:2,
     35:7, 35:13, 38:5          remainder [1] - 14:2          37:22, 38:7, 38:12         38:5, 38:10, 38:18         32:7
    reason [4] - 14:16,         remove [1] - 21:20                                      setting [1] - 31:22        start [2] - 15:14, 23:18
     29:11, 29:18, 30:1         removed [1] - 24:11                     S               settle [3] - 30:2, 35:2,   started [4] - 8:11,
    reasonable [1] - 39:18      render [1] - 18:15                                       35:4                       8:13, 13:4, 36:4
    rebuttal [1] - 18:3         repercussions [1] -          saga [2] - 26:20, 33:18    settlement [3] - 20:22,    state [22] - 3:25, 4:11,
    received [1] - 12:10          36:13                      sanctioned [1] - 24:18      20:23, 38:22               5:19, 6:20, 7:8, 9:12,
    receiver [34] - 4:1,        replaced [1] - 8:16          sanctions [3] - 18:25,     seven [1] - 13:24           9:15, 9:25, 10:19,
     7:12, 7:16, 7:25, 8:2,     REPORTED [1] - 2:9            19:7, 19:18               several [1] - 4:25          14:25, 15:3, 17:20,
     8:7, 14:18, 15:17,         Reporter [1] - 2:10          satisfied [4] - 25:13,     ship [1] - 12:14            18:20, 20:3, 20:17,
     16:9, 17:16, 19:20,        represent [14] - 3:12,        25:14, 25:18, 26:6        short [1] - 23:19           20:19, 21:2, 24:11,
     20:9, 20:22, 21:1,           15:18, 15:25, 16:1,        saved [2] - 5:9, 12:15     show [1] - 24:17            28:3, 31:20, 38:2,
     21:2, 21:3, 21:20,           16:6, 16:11, 20:17,        saw [2] - 9:19, 25:22      side [2] - 38:13, 39:16     39:13
     21:22, 21:25, 27:20,         21:23, 31:6, 31:8,         Scheduled [1] - 1:7        sides [1] - 31:24          statements [1] - 16:19
     27:21, 27:23, 28:9,          31:13, 33:7, 33:12,        screens [1] - 26:14        signed [2] - 21:21,        STATES [2] - 1:1, 1:14
     28:14, 28:15, 28:17,         33:14                      Sean [1] - 2:4              22:16                     States [2] - 2:10, 40:8
     29:2, 29:11, 30:2,         representation [1] -         seated [1] - 3:3           significant [1] - 21:7     static [1] - 7:9
     34:8, 36:16, 37:9,           15:22                      second [2] - 20:3,         significantly [1] - 22:1   status [4] - 37:23,
     38:17                      representative [3] -          22:14                     Silver [5] - 15:17,         37:24, 38:3, 38:11
    receiver's [2] - 15:7,        2:2, 3:13, 9:18            section [1] - 24:20         15:18, 17:2, 27:16,       stay [4] - 24:10, 27:14,
     21:10                      represented [2] - 25:6,      see [7] - 6:17, 12:24,      33:11                      28:2, 28:8
    receivers [1] - 34:5          35:21                       18:1, 30:16, 33:11,       Silver's [2] - 15:23,      STENOGRAPHICAL
    receivership [31] -         representing [6] - 3:8,       33:15, 39:18               16:18                      LY [1] - 2:9
     4:9, 4:11, 4:19, 5:2,        12:11, 15:17, 15:20,       seem [3] - 26:19,          similar [1] - 7:3          step [2] - 12:4, 21:16
     5:13, 5:25, 9:14,            31:4, 34:2                  38:21, 39:10              simple [1] - 26:16         stick [1] - 39:14
     9:20, 10:1, 10:12,         request [1] - 10:22          selected [1] - 27:22       simply [2] - 18:9,         still [13] - 4:1, 11:4,
     12:10, 12:20, 19:3,        required [1] - 31:20         SELECTIVE [2] - 1:7,        18:12                      11:5, 13:4, 14:2,
     19:21, 20:6, 21:8,         requires [2] - 9:16,          1:22                      single [1] - 36:11          14:5, 16:9, 17:7,
     27:14, 28:2, 28:7,           20:15                      Selective [12] - 3:4,      sitting [1] - 19:1          26:3, 30:4, 31:21,
     29:23, 31:2, 31:9,         researched [1] - 23:12        3:12, 3:13, 21:25,        situation [1] - 7:3         32:9, 33:24
     32:5, 32:8, 33:4,                                        23:3, 23:4, 23:7,         size [2] - 6:17, 33:23     stipulate [1] - 27:6
                                resolve [2] - 13:18,
     33:5, 33:12, 33:24,                                      23:20, 25:1, 26:1,        small [1] - 33:12          stipulation [1] - 28:9
                                  14:25
     34:7, 36:25, 37:2                                        26:24, 39:6                                          stream [1] - 6:8
                                resolved [6] - 7:1,                                     smoke [1] - 26:14
    recently [1] - 34:19                                     Selective's [1] - 23:15                               structure [1] - 5:7
                                  11:3, 14:6, 23:1,                                     Socarras [1] - 1:22
    recess [1] - 39:20            34:25, 35:9                sense [2] - 39:9, 39:10                               studied [1] - 13:21
                                                                                        someone [1] - 6:18
    recognizing [1] - 7:7       respect [1] - 7:18           sensitive [1] - 36:15                                 subject [5] - 6:20, 7:1,
                                                                                        sorry [4] - 9:4, 11:1,
    record [12] - 4:6, 5:13,    response [3] - 17:2,         sentence [1] - 37:1         31:11, 39:5                7:5, 35:25, 36:17
     5:21, 6:12, 8:18,            18:2, 19:6                 separate [3] - 22:18,                                 subsequent [1] - 23:8
                                                                                        sort [1] - 15:11
     10:19, 10:24, 15:23,                                     22:21, 22:23                                         subsequent-filed [1] -
                                rest [1] - 14:6                                         sorted [1] - 13:6
     25:10, 27:5, 33:11,                                     September [2] - 32:1,                                  23:8
                                rests [2] - 6:21, 9:20                                  sorts [1] - 17:15
     37:2                                                     35:14                                                substance [2] - 11:25,
                                retaining [1] - 16:5                                    sounds [1] - 26:8
    recover [1] - 17:19                                      series [1] - 4:6                                       12:8
                                revisit [1] - 37:13                                     South [1] - 1:23
    referenced [1] - 35:19                                   serious [5] - 34:16,                                  substantial [2] -
                                revisited [1] - 3:25                                    SOUTHERN [1] - 1:1
    referring [1] - 26:20                                     35:14, 35:15, 36:13,                                  12:17, 12:18
                                rise [6] - 3:2, 5:18, 6:2,                              special [4] - 17:7,
    regarding [2] - 7:13,                                     36:20                                                sued [1] - 17:10
                                  6:19, 32:24, 39:22                                     19:11, 19:14, 30:6
     7:14                                                    serve [1] - 38:13                                     sufficient [2] - 17:15,
                                road [1] - 28:16                                        specific [2] - 13:8,
    registered [7] - 18:6,                                   served [9] - 18:6,                                     21:17
                                role [1] - 5:4                                           21:3
     18:20, 18:22, 19:3,                                      18:22, 19:4, 19:20,                                  suggest [2] - 34:19,
                                Room [1] - 2:11                                         specifically [4] -
     19:4, 19:19, 19:23                                       19:23, 30:20, 30:21,                                  35:6
                                Rosh [1] - 4:8                                           11:16, 11:21, 21:14,




                                                                                                                                      58
Case 1:17-cv-24127-DPG Document 45 Entered on FLSD Docket 05/14/2018 Page 59 of 84
                                                                           47


    suggested [1] - 33:13      totals [1] - 6:15                     V
    suit [1] - 20:5            transcript [4] - 16:14,
    Suite [2] - 1:20, 1:23       16:15, 16:16, 16:20      vacated [1] - 25:9
    summons [5] - 17:9,        transcription [1] -        vacates [4] - 18:14,
     17:12, 18:1, 18:4,          40:4                      18:15, 28:20, 28:23
     30:8                      transition [1] - 11:12     valid [1] - 24:7
    Sunrise [1] - 1:19         trial [2] - 22:23, 27:1    validity [5] - 10:1,
    supposed [1] - 15:7        trouble [1] - 11:13         10:14, 15:12, 36:21
    surprise [1] - 14:9        trustee [1] - 35:22        verbally [1] - 31:7
    surprised [4] - 11:24,     try [3] - 30:1, 35:4,      version [1] - 23:19
     12:1, 13:13, 13:15          39:9                     versus [2] - 3:4, 19:15
    system [2] - 14:25,        trying [8] - 6:7, 12:12,   vested [1] - 14:18
     15:3                        13:12, 14:14, 16:6,      view [1] - 4:5
                                 19:8, 25:9, 26:17        violation [5] - 19:21,
               T               Tuesday [1] - 1:6           24:10, 25:4, 28:6,
                               tunc [3] - 28:24, 29:1,     31:9
    telephone [1] - 37:24        30:3                     void [3] - 35:18, 36:24
    term [1] - 14:13           turns [1] - 28:17          voidable [1] - 35:18
    terms [1] - 12:4           two [7] - 7:2, 16:13,      vs [1] - 1:5
    THE [67] - 1:13, 3:3,        22:10, 23:17, 33:11,
      3:10, 3:14, 3:18,          36:12, 36:14                       W
      3:22, 4:13, 4:22, 6:3,   type [1] - 10:6
      7:11, 7:21, 7:23, 8:5,   typically [2] - 34:5,      wait [7] - 9:3, 18:13,
      9:3, 9:5, 9:8, 9:22,       34:7                      19:14, 25:13, 33:2
      11:4, 11:7, 11:14,                                  waiting [1] - 37:22
      12:6, 14:16, 14:20,                 U               walk [1] - 16:20
      15:2, 15:13, 16:13,                                 walked [1] - 22:13
      16:18, 17:4, 17:22,      ultimately [2] - 7:1,      wants [2] - 30:16, 36:7
      18:8, 18:12, 19:14,       36:8                      Wednesday [1] -
      21:12, 22:7, 23:8,       unartful [1] - 14:13        38:11
      23:14, 23:19, 23:25,     under [4] - 9:10, 14:9,    week [1] - 30:12
      24:19, 26:7, 26:19,       24:25, 25:2               West [1] - 1:19
      28:20, 28:23, 29:3,      underlying [25] - 4:8,     whole [3] - 5:10,
      29:6, 29:14, 29:18,       4:19, 5:3, 5:16, 6:1,      22:12, 25:22
      30:4, 30:10, 30:23,       6:18, 7:3, 9:13, 9:20,    WILLIAM [1] - 1:18
      30:25, 31:10, 31:12,      10:11, 10:15, 11:2,       withdrawing [1] - 12:5
      31:23, 32:9, 32:13,       12:18, 13:7, 13:19,       withdrew [3] - 33:9,
      32:15, 33:6, 34:4,        14:24, 15:12, 17:22,       33:25, 34:12
      37:4, 37:7, 37:19,        24:1, 32:20, 32:23,       wording [1] - 11:15
      38:5, 38:10, 38:19,       34:13, 34:17, 34:25,      words [3] - 15:9,
      39:3, 39:5                35:9                       21:12, 26:21
    they've [1] - 25:18        understood [1] -           write [1] - 24:20
    thinking [1] - 8:9          33:19                     written [5] - 16:4,
    Third [2] - 26:13,         undid [2] - 36:10,          20:18, 21:8, 31:6
      36:22                     36:11
    third [1] - 32:6           undo [1] - 9:19
    thousand [2] - 6:13,       undone [1] - 7:5
                                                                     Y
      13:1                     unique [1] - 14:22         year [1] - 26:11
    title [1] - 23:1           united [1] - 2:10          years [10] - 7:2, 10:4,
    today [7] - 6:7, 14:14,    United [1] - 40:8           15:3, 22:15, 22:16,
      18:9, 18:17, 19:8,       UNITED [2] - 1:1, 1:14      22:20, 24:7, 26:17,
      21:13, 23:15             unless [1] - 3:25           36:12, 36:14
    today's [1] - 18:12        unlike [1] - 10:3          York [15] - 23:16,
    tomorrow [9] - 17:6,       unsatisfied [1] - 6:12      24:11, 24:17, 24:24,
      17:24, 18:10, 19:9,      up [12] - 4:3, 14:7,        24:25, 25:5, 25:10,
      30:5, 30:14, 30:15,       17:2, 17:13, 22:13,        25:14, 26:1, 26:4,
      37:21, 38:7               23:13, 30:2, 30:5,         26:9, 27:4, 38:25,
    took [4] - 13:15,           30:13, 31:7, 32:22,        39:8
      14:10, 27:8, 35:5         38:14
    tort [1] - 22:18           upset [1] - 5:6




                                                                                    59
Case 1:17-cv-24127-DPG Document 45 Entered on FLSD Docket 05/14/2018 Page 60 of 84




                           EXHIBIT 2
                  In Re Hazan – Voluntary Chapter 11 Bankruptcy

                             Case No. 16-10389-AJC

                          May 8, 2018 Hearing Transcript




                                                                          60
Case 1:17-cv-24127-DPG Document 45 Entered on FLSD Docket 05/14/2018 Page 61 of 84


                                                                             Page 1
 1                         UNITED STATES BANKRUPTCY COURT
                            SOUTHERN DISTRICT OF FLORIDA
 2                                 MIAMI DIVISION
 3
 4
 5
        IN RE:                                 CASE NO. 16-10389-AJC
 6
        LIZA HAZAN,
 7
                     Debtor.
 8      ___________________________/
 9
10
11                    ECF# 563, 590, 599, 605, 607, 610
12
13                                  May 8, 2018
14
15                      The above-entitled cause came on for hearing
16     before the Honorable A. JAY CRISTOL,           one of the Judges in
17     the   UNITED    STATES    BANKRUPTCY     COURT,    in    and    for    the
18     SOUTHERN     DISTRICT     OF FLORIDA, at 301 North Miami Avenue,
19     Miami, Miami-Dade County, Florida on Tuesday, May 8, 2018,
20     commencing     at    or   about   3:04 p.m.,     and    the    following
21     proceedings were had:
22
23
24         Transcribed from a Backup Digital Audio Recording by:
                    Margaret Franzen, Court Reporter
25


                    OUELLETTE & MAULDIN COURT REPORTERS, INC.
                                  (305) 358-8875
                                                                             61
Case 1:17-cv-24127-DPG Document 45 Entered on FLSD Docket 05/14/2018 Page 62 of 84


                                                                           Page 2
 1                                  APPEARANCES:
 2
 3                         DAVID W. LANGLEY, ESQUIRE
                            On behalf of the Debtor
 4
 5
                            FURR & COHEN, by
 6                 ROBERT C. FURR, ESQUIRE (CourtCall)
       On behalf of the Board of Managers of Spencer Condominium
 7
 8
                         MARSHALL SOCARRAS GRANT, by
 9                    JOE M. GRANT, ESQUIRE (CourtCall)
                    On behalf of Selective Advisors Group
10
11
                         DAVID B. HABER, P.A., by
12                 DAVID B. HABER, ESQUIRE (CourtCall)
           On behalf of Valencia Estates Homeowners' Association
13
14
                      JUAN RAMIREZ, ESQUIRE (CourtCall)
15                          On behalf of NLG, LLC
16
17                 OFFICE OF THE UNITED STATES TRUSTEE, by
                      JOHANNA ARMENGOL, ATTORNEY-AT-LAW
18                             Attorney/Advisor
                    On behalf of the United States Trustee
19
20
                                   ALSO PRESENT:
21
22
                             LIZA HAZAN, Debtor
23               ECRO - Electronic Court Reporting Operator
24
                                   - - - - - - -
25


                    OUELLETTE & MAULDIN COURT REPORTERS, INC.
                                  (305) 358-8875
                                                                          62
Case 1:17-cv-24127-DPG Document 45 Entered on FLSD Docket 05/14/2018 Page 63 of 84


                                                                           Page 3
 1                      THE COURT:     Good afternoon.       Be seated,
 2     please.     Three o'clock calendar, appearances.
 3                      Robert Furr is reported to be out in
 4     telephone land, are you out there?
 5                      MR. FURR:     Yes.    Good afternoon, Your Honor.
 6     Robert Furr, attorney for the Board of Governors of the
 7     Spencer Condominium.
 8                      THE COURT:     Very well.     Joe Grant?
 9                      MR. GRANT:     Good afternoon, Your Honor.
10     Joe Grant on behalf of Selective Advisors.
11                      THE COURT:     You need to spell your last name
12     for the electronic recorder.
13                      MR. GRANT:     Yes, Your Honor, G-r-a-n-t.
14                      THE COURT:     Did I get your spelling,
15     Mr. Furr?     I didn't.
16                      MR. FURR:     Sir, you did not.       Robert Furr,
17     F-u-r-r.
18                      THE COURT:     And David Haber, are you out
19     there?
20                      MR. HABER:     Your Honor, David Haber,
21     H-a-b-e-r, on behalf of Valencia Estates.
22                      THE COURT:     Very well, and in the courtroom,
23     appearances.
24                      MS. ARMENGOL:      Good afternoon, Your Honor.
25     Johanna Armengol, A-r-m-e-n-g-o-l, for the U.S. Trustee.


                    OUELLETTE & MAULDIN COURT REPORTERS, INC.
                                  (305) 358-8875
                                                                          63
Case 1:17-cv-24127-DPG Document 45 Entered on FLSD Docket 05/14/2018 Page 64 of 84


                                                                           Page 4
 1                      MR. LANGLEY:      And good afternoon,
 2     Your Honor.     David Langley for the ---
 3                      MR. RAMIREZ:      Your Honor --
 4                      THE COURT:     Hello.    Is someone ---
 5                      MR. RAMIREZ:      -- I -- I was having trouble
 6     with the -- the CourtCall.         Juan Ramirez, R-a-m-i-r-e-z,
 7     for NLG.
 8                      THE COURT:     Oh, okay.      Mr. Ramirez, and who
 9     do you represent?
10                      MR. RAMIREZ:      NLG, LLC.
11                      THE COURT:     Okay.    You didn't appear on the
12     list, and welcome.
13                      And now in the courtroom, Mr. Langley, your
14     appearance.
15                      MR. LANGLEY:      Yes, Your Honor, thank you.
16     David Langley here for the debtor, Elizabeth Hazan, and
17     she's here in the courtroom with us today.
18                      THE COURT:     Very well, and we have a number
19     of matters on the calendar, and let's -- let's proceed
20     with them.
21                      Do you have a particular order, Mr. Langley?
22     I see the first matter, 590, was filed by David Haber,
23     that's an objection to confirmation that we have an
24     amended Chapter -- plan, 563, filed by you, Mr. Langley.
25                      MR. LANGLEY:      Yes, Judge.


                    OUELLETTE & MAULDIN COURT REPORTERS, INC.
                                  (305) 358-8875
                                                                          64
Case 1:17-cv-24127-DPG Document 45 Entered on FLSD Docket 05/14/2018 Page 65 of 84


                                                                           Page 5
 1                      THE COURT:     599, objection to confirmation.
 2     Then we have 610, objection to confirmation; and then
 3     we've got a fee application, 605; and we have a motion to
 4     strike a ballot, 607; and I think that pretty well covers
 5     it.
 6                      What are we going to do first, Mr. Langley?
 7                      MR. LANGLEY:      My preference, Your Honor, if
 8     it's okay with you, those first two I think we can deal
 9     with together, and I'd like to take those last and just go
10     through the -- the other motions and things that are set.
11                      THE COURT:     All right.     Well, tell me which
12     one and we'll talk about it.
13                      MR. LANGLEY:      599 --
14                      THE COURT:     599 --
15                      MR. LANGLEY:      -- that's a motion to strike.
16                      THE COURT:     -- objection to confirmation.
17                      MR. LANGLEY:      It's a motion to strike an
18     objection to confirmation.
19                      THE COURT:     To strike.     Okay.
20                      MR. LANGLEY:      And the basis of our motion to
21     strike NLG's objection, Judge, is the ruling in the
22     adversary of November 1 that found that -- and it's quoted
23     in our motion to strike, but that the title to the
24     property, the debtor's property, is forever quieted as to
25     all claims of NLG, and later in your final order, NLG has


                    OUELLETTE & MAULDIN COURT REPORTERS, INC.
                                  (305) 358-8875
                                                                          65
Case 1:17-cv-24127-DPG Document 45 Entered on FLSD Docket 05/14/2018 Page 66 of 84


                                                                           Page 6
 1     no claim against the debtor, Liza Hazan, and has no
 2     standing.
 3                      So we've got NLG with no claim, no standing,
 4     no lien and after that ruling, they filed Docket Entry
 5     592, an objection to the disclosure statement, which has
 6     already been approved by Your Honor.           I'm sorry, that was
 7     the objection to confirmation.
 8                      They filed an objection to the amended
 9     disclosure statement, 578, and then related to this is our
10     motion to strike, 610, which raises that same argument as
11     to NLG's amended objection to confirmation.
12                      So since the finding that they have no
13     standing, they have filed three objections, which we
14     believe should all be stricken, 592, 578 and 606, we would
15     request all be stricken.
16                      THE COURT:     And, Mr. Ramirez, is that
17     your -- your response?
18                      MR. RAMIREZ:      Yes, Judge.     We, as
19     Mr. Langley knows, have appealed the order, and I find it
20     ironic that Mr. Langley would call that a final order
21     because you just filed a pleading with Judge Gayles saying
22     that it was not final, and now he's saying it's final.
23     He's -- he's playing the system here, Judge.
24                      THE COURT:     Well, have the -- if the orders
25     are on appeal, was -- was a supersedeas posted?              Is it --


                    OUELLETTE & MAULDIN COURT REPORTERS, INC.
                                  (305) 358-8875
                                                                          66
Case 1:17-cv-24127-DPG Document 45 Entered on FLSD Docket 05/14/2018 Page 67 of 84


                                                                           Page 7
 1     are the -- are the orders stayed or are they not?
 2                      MR. LANGLEY:      No motion to stay, no bond
 3     posted and the appeal has been dismissed.
 4                      THE COURT:     Oh, really?      Are you aware,
 5     Mr. Ramirez, Mr. Langley says the appeal has been
 6     dismissed, is that accurate?
 7                      MR. RAMIREZ:      No, the motion ---
 8                      MR. LANGLEY:      There's a motion to reinstate
 9     the appeal, but the appeal stands --
10                      MR. RAMIREZ:      (Inaudible.)
11                      MR. LANGLEY:      -- as dismissed as of this
12     moment.
13                      THE COURT:     Pardon me, one at a time,
14     Mr. Langley.
15                      Go ahead, Mr. Ramirez.
16                      MR. RAMIREZ:      Yeah, we filed a motion for
17     relief from the dismissal because it was based on an order
18     of a receiver in the state court action now that has been
19     vacated nunc pro tunc, so we anticipate the appeal will be
20     reinstated.
21                      And Mr. Langley called our appeal premature
22     because the order you signed was not a final order, now
23     that -- now he's saying that it is final.             I wish he would
24     make up his mind.
25                      THE COURT:     Well, if the appeal was


                    OUELLETTE & MAULDIN COURT REPORTERS, INC.
                                  (305) 358-8875
                                                                          67
Case 1:17-cv-24127-DPG Document 45 Entered on FLSD Docket 05/14/2018 Page 68 of 84


                                                                           Page 8
 1     dismissed, that sort of makes it final.
 2                      Then you say that there's a motion to
 3     reconsider the dismissal; is that ---
 4                      MR. RAMIREZ:      That is correct, that's the
 5     motion to reconsider filed timely, and it's been under
 6     advisement with Judge Gayles for two or three weeks.
 7                      MR. LANGLEY:      Judge, I ---
 8                      THE COURT:     All right.     When you're
 9     finished, Mr. Ramirez, we'll hear Mr. Langley's response.
10                      MR. LANGLEY:      Yes, Judge.     I refer to it as
11     a final judgment because the title of the document is a
12     final judgment.
13                      The finality for appellate purposes is
14     obviously something very different, but you just hit the
15     nail on the head.
16                      The order -- order out of the adversary says
17     they have no standing, they have no claim, and until an
18     appellate court says otherwise, that's the law of the
19     case, and they have not moved for a stay and they have not
20     posted a bond.
21                      So they have no -- and we cited the Tucker
22     case in our motion that specifically says that without a
23     motion to stay, without an order staying the effect of the
24     order or judgment, they have no standing and they have no
25     right to be objecting to confirmation, and they're raising


                    OUELLETTE & MAULDIN COURT REPORTERS, INC.
                                  (305) 358-8875
                                                                          68
Case 1:17-cv-24127-DPG Document 45 Entered on FLSD Docket 05/14/2018 Page 69 of 84


                                                                           Page 9
 1     frivolous issues, in any event.
 2                      And, Judge, as we've mentioned to you a
 3     number of times, there are, I believe, five motions for
 4     sanctions filed by NLG.        There -- NLG has been the subject
 5     of several motions for violating the automatic stay and
 6     now after we win the adversary proceeding, they file three
 7     more objections in the case, just trying to cause the
 8     debtor to incur additional fees, and we need --
 9                      THE COURT:     These objections are filed --
10                      MR. LANGLEY:      -- to ask the Court to ---
11                      THE COURT:     -- in the District Court; is
12     that correct?
13                      I mean, the -- the appeal was in the
14     District Court; is that correct?
15                      MR. LANGLEY:      Yes, and we filed back in
16     November, I believe it was, a motion to dismiss, which was
17     granted in the ---
18                      THE COURT:     What's pending over there, is
19     that -- you said that's Judge Gayles?
20                      MR. LANGLEY:      Judge Gayles.      We filed a
21     motion to dismiss, he granted it.
22                      They have filed a motion for reconsideration
23     of the dismissal, that has not been ruled on, that's
24     pending before Judge Gayles, but ---
25                      THE COURT:     Anything scheduled for hearing


                    OUELLETTE & MAULDIN COURT REPORTERS, INC.
                                  (305) 358-8875
                                                                          69
Case 1:17-cv-24127-DPG Document 45 Entered on FLSD Docket 05/14/2018 Page 70 of 84


                                                                          Page 10
 1     in the District Court?
 2                      MR. LANGLEY:      Not to my knowledge, no.
 3                      THE COURT:     How about you, Mr. Ramirez,
 4     anything scheduled for hearing?
 5                      MR. RAMIREZ:      Not (inaudible).      We're
 6     waiting for a ruling on the motion for relief from the
 7     dismissal.
 8                      THE COURT:     All right.     Well, there's a
 9     question of whether or not -- of course, if the
10     reinstatement is granted, we have a different situation
11     then if it is denied.
12                      So we'll hold off ruling on 599 and 607 and
13     610 pending what comes out of the District Court.
14                      Let's move on to the other matters on the
15     calendar.
16                      MR. LANGLEY:      Also, Judge, just related to
17     that is the very last one, 607, that's NLG's motion to
18     strike a ballot, and again, if they have no standing, they
19     have no right to be objecting to a ballot.             The ballot
20     is ---
21                      THE COURT:     607 and 610 --
22                      MR. LANGLEY:      That is their motion to
23     strike.
24                      THE COURT:     -- and 6 -- and 599, all three
25     of them are objections, and if the order is final, then


                    OUELLETTE & MAULDIN COURT REPORTERS, INC.
                                  (305) 358-8875
                                                                          70
Case 1:17-cv-24127-DPG Document 45 Entered on FLSD Docket 05/14/2018 Page 71 of 84


                                                                          Page 11
 1     the objections should be overruled.
 2                      MR. LANGLEY:      Okay.
 3                      THE COURT:     If the order is -- if the
 4     District Court takes the matter up, then we have to wait
 5     and see what comes out of it.
 6                      So as I said, I'm going to defer ruling on
 7     those three matters pending a report from the
 8     District Court as to how they're going to deal with it.
 9                      MR. RAMIREZ:      Thank you, Judge.
10                      THE COURT:     So I'm going to mark it, mark
11     599, 610, and 607 as deferred.
12                      Now, what's next, Mr. Langley?
13                      MR. LANGLEY:      We've got 605, which is a fee
14     application.
15                      THE COURT:     All right.     Tell me about it.
16                      MR. LANGLEY:      This was actually filed some
17     time ago, it's come up a couple of times, you just haven't
18     ruled on it yet.
19                      Fees, net fees, in the amount of
20     $129,377.50, and costs of $813.89.
21                      THE COURT:     Very well.     Has the
22     United States Trustee reviewed this matter?
23                      MS. ARMENGOL:      Johanna Armengol.       Yes, Your
24     Honor.    We do not have an objection with an 80 percent
25     award and a -- a holdback.


                    OUELLETTE & MAULDIN COURT REPORTERS, INC.
                                  (305) 358-8875
                                                                          71
Case 1:17-cv-24127-DPG Document 45 Entered on FLSD Docket 05/14/2018 Page 72 of 84


                                                                          Page 12
 1                      THE COURT:     Anyone else need to be heard on
 2     that matter?
 3                      Very well, then, we'll approve subject to
 4     80 percent for fees and a hundred percent on costs.
 5                      Okay.    What's next?
 6                      MR. LANGLEY:      Well, Judge, that brings us to
 7     the plan and to confirmation.
 8                      So where we stand with that, setting aside
 9     NLG for a moment, the only party that was -- that we had a
10     concern with about this is Valencia represented by
11     Mr. Haber, who's on the phone.
12                      We've been speaking with him on and off,
13     including about ten minutes ago, and where we stand on
14     confirmation, Judge, is after two years and all this
15     litigation and successful outcomes on two adversaries, and
16     working out resolutions with just about everybody else,
17     and now very, very, very close with Mr. Haber and his
18     client, we're in a position to be ready for a consensual
19     confirmation, but we're a few days away from some funds
20     being released to the debtor to pay Mr. Haber's client and
21     to be able to say we have effective date payment money
22     sitting there.
23                      So what we came here today to request, is
24     that we go through the confirmation process today.               We're
25     working with Mr. Haber to -- we agree that his client is


                    OUELLETTE & MAULDIN COURT REPORTERS, INC.
                                  (305) 358-8875
                                                                          72
Case 1:17-cv-24127-DPG Document 45 Entered on FLSD Docket 05/14/2018 Page 73 of 84


                                                                          Page 13
 1     due the special assessment of 62,500.            We're a few dollars
 2     apart on agreeing on attorney's fees, so we've agreed to
 3     submit on paper to Your Honor to work out the attorney's
 4     fees.
 5                      What we're asking for is to give us until
 6     Friday to work this out with Mr. Haber and get his okay,
 7     get him to remove his objection, which is 590, by paying
 8     his client an agreed amount or whatever the Court says,
 9     file the affidavits showing -- of the debtor showing that
10     the funds are on hand to pay all the effective date
11     payments, and then some, and administrative expenses, and
12     with everybody's consent, upload an order confirming the
13     plan.
14                      THE COURT:     Well, Friday is the 11th and on
15     the 11th I'm getting on a plane to California to go to my
16     granddaughter's graduation, so I'm not sure if the 11th is
17     a workable date.
18                      Can that maybe done on the 10th or the ---
19                      MS. ARMENGOL:      Your Honor, if I may?
20                      THE COURT:     Yes, Madam United States
21     Trustee.
22                      MS. ARMENGOL:      Johanna Armengol.
23     Your Honor, we cannot support a conditional confirmation
24     today --
25                      THE COURT:     Oh, I would agree.


                    OUELLETTE & MAULDIN COURT REPORTERS, INC.
                                  (305) 358-8875
                                                                          73
Case 1:17-cv-24127-DPG Document 45 Entered on FLSD Docket 05/14/2018 Page 74 of 84


                                                                          Page 14
 1                      MS. ARMENGOL:      -- because the funds are not
 2     there, it's putting the cart before the horse.
 3                      THE COURT:     I agree.     We'll just ---
 4                      MS. ARMENGOL:      So we -- we would have to
 5     come back.
 6                      THE COURT:     We'll have to roll the
 7     confirmation.
 8                      As I say, if we can do it on the 10th, or
 9     else we'll roll it to when I come back, which is -- I
10     think I come back on the 16th, is that right, Sue?
11                      ECRO:    You'll be here on the 17th, Judge.
12                      THE COURT:     I'll be here on the 17th.
13     So what works for you, Mr. Langley, the 10th or the 17th?
14                      MR. HABER:     Your Honor, may I -- this is
15     Mr. Haber.
16                      May I be heard on the issue of ---
17                      THE COURT:     Certainly, Mr. Haber, you may be
18     heard.    What do you wish to be heard about?
19                      MR. HABER:     There is a difference between
20     what Mr. Langley has said and what the Court's prior order
21     is.
22                      It says that we have to be paid the $62,500,
23     and it was not timely paid pursuant to stipulation and
24     court order approving same, as well as the declaration,
25     but we're also entitled to interest from the date the


                    OUELLETTE & MAULDIN COURT REPORTERS, INC.
                                  (305) 358-8875
                                                                          74
Case 1:17-cv-24127-DPG Document 45 Entered on FLSD Docket 05/14/2018 Page 75 of 84


                                                                          Page 15
 1     payment was due, as well as obviously whatever association
 2     charges, late charges there are, which they have in the
 3     estoppel letter.
 4                      And then, of course, there's the $14,000 of
 5     fees that we've agreed to submit no more than three pages
 6     explaining why we feel we should get it, and why they feel
 7     they shouldn't have to pay.
 8                      But I want to make sure Mr. Langley
 9     understands, it's not just the $62,500, but it's the other
10     amounts in the estoppel, including interest until the date
11     of confirmation, the late fees to the association, as well
12     as an amount of attorney's fees that Your Honor awards.
13                      THE COURT:     What about it, Mr. Langley?
14                      MR. LANGLEY:      Well, Judge, up until ten
15     minutes before the hearing started, Mr. Haber and I were
16     just talking about 62.5, plus fees.           So without going back
17     and going through everything he said to us, I'm not sure
18     how significant the interest is.           This is the first I've
19     heard about late fees.
20                      THE COURT:     Well, in any event, we're not
21     ready to go forward today anyhow, so it will give you time
22     to work with Mr. Haber --
23                      MR. LANGLEY:      Sure.
24                      THE COURT:     -- and come up with a number
25     that solves the problem if you're able to do so.


                    OUELLETTE & MAULDIN COURT REPORTERS, INC.
                                  (305) 358-8875
                                                                          75
Case 1:17-cv-24127-DPG Document 45 Entered on FLSD Docket 05/14/2018 Page 76 of 84


                                                                          Page 16
 1                      MR. LANGLEY:      And we can always include that
 2     in our three-page submission.
 3                      MR. HABER:     Your Honor, this is Mr. Haber
 4     again.
 5                      THE COURT:     Yes.
 6                      MR. HABER:     We have a court order requiring
 7     them to pay the interest.         They have received an estoppel
 8     that gives them a per diem on the interest.             This is not
 9     rocket science, and I don't need to be repeating it to
10     Mr. Langley because he and his client are well aware of
11     the stipulation, and the last three times we were in court
12     they have reconfirmed the same issue that says we're
13     entitled to pay -- be paid the late fees, as well as the
14     interest.
15                      And there's been no objection to that
16     previously, and the Court has even admonished Mr. Langley
17     and his client, and said whatever the deal you struck was
18     and the court order approved and your client signed,
19     that's the deal you're stuck with whether you like it or
20     not, good deal, bad deal, that's the deal she made.
21                      So to now say, well, we don't know that we
22     have got to pay interest, is just ridiculous.
23                      THE COURT:     Well, Mr. Haber, if that's the
24     status of the court order, that is what it is.
25                      However, since we're not going ahead with


                    OUELLETTE & MAULDIN COURT REPORTERS, INC.
                                  (305) 358-8875
                                                                          76
Case 1:17-cv-24127-DPG Document 45 Entered on FLSD Docket 05/14/2018 Page 77 of 84


                                                                          Page 17
 1     confirmation today, we can wait until we come back and
 2     determine whether you resolve your other problems with
 3     Mr. Langley, and if you have, and this remains -- still
 4     remains a problem and the order says what you say it says,
 5     then that would be a further impediment.
 6                      On the other hand, if Mr. Langley knows
 7     something I don't know, you know, perhaps he can discuss
 8     that with you, and this is an opportunity for the two of
 9     you to get together and come up with whatever number is
10     necessary to solve the problem.
11                      MR. LANGLEY:      If nothing else, Judge, we
12     would just like to know the amount.           The letter that I --
13     the last letter I have from Mr. Haber is addressed to me
14     and Ms. Hazan, and it gives that amount, 62,500, it gives
15     the 14,392 in attorney's fees, and $14.04 in costs, and no
16     mention of ---
17                      THE COURT:     $14.04 in costs?
18                      MR. LANGLEY:      Yes.
19                      THE COURT:     What are you doing, Mr. Haber --
20                      MR. LANGLEY:      We're going to ---
21                      THE COURT:     -- riding first class on the
22     airlines?
23                      MR. LANGLEY:      We're going to fight him on
24     that, Judge, but it doesn't mention interest or --
25                      MR. HABER:     (Inaudible.)      Your Honor.


                    OUELLETTE & MAULDIN COURT REPORTERS, INC.
                                  (305) 358-8875
                                                                          77
Case 1:17-cv-24127-DPG Document 45 Entered on FLSD Docket 05/14/2018 Page 78 of 84


                                                                          Page 18
 1                      MR. LANGLEY:      -- it doesn't mention anything
 2     else.
 3                      MR. HABER:     I was driving a NASCAR in
 4     Daytona at a hundred fifty-five miles an hour.
 5                      THE COURT:     Wow.    Well, be careful, we want
 6     to make sure you get back to collect your money.
 7                      MR. HABER:     I am on my way back, and I
 8     survived it.     If I can survive confirmation of this case,
 9     it will be more difficult than riding at a hundred
10     fifty-five miles an hour, but thank you, Your Honor,
11     for -- for being worried about my safety.
12                      THE COURT:     Okay.    So, anyhow, did we select
13     a date, are we doing the 10th or the 16th?
14                      MR. LANGLEY:      Your Honor ---
15                      THE COURT:     I mean, on the 17th.
16                      MR. LANGLEY:      Judge, Ms. Hazan is going to
17     be out of town after your return until May 27th.
18                      THE COURT:     Well, by then I've got to go to
19     Jacksonville for another granddaughter's graduation.
20     Let's see, I'm trying to remember when I leave on that.                I
21     think I ---
22                      MR. LANGLEY:      The 28th is Memorial Day.
23                      THE COURT:     The 28th is Memorial Day and --
24     well, what about the 30th?
25                      MR. HABER:     Your Honor, is there any way for


                    OUELLETTE & MAULDIN COURT REPORTERS, INC.
                                  (305) 358-8875
                                                                          78
Case 1:17-cv-24127-DPG Document 45 Entered on FLSD Docket 05/14/2018 Page 79 of 84


                                                                          Page 19
 1     you to do it by phone?        I have been told you'll extend the
 2     hearings by phone when you're out of town, when we're all
 3     here.    I would hate to see another month go by when we're
 4     already two and a half years in.
 5                      THE COURT:     Well, we're not talking about
 6     another month, we're talking about a few more days.               I'm
 7     back on the 29th or 30th, am I not?
 8                      ECRO:    You're back on the 29th.
 9                      THE COURT:     29th, and when -- when does
10     Ms. Hazan get in?
11                      MR. LANGLEY:      The 27th, so the 30th would be
12     fine with us.
13                      THE COURT:     30th or the 29th?
14                      MS. HAZAN:     The 30th.
15                      MR. LANGLEY:      30th.
16                      THE COURT:     All right.     Mr. Haber, the 30th
17     work for you?
18                      MR. HABER:     I'm checking right now,
19     Your Honor, hold on one second.
20                      MR. LANGLEY:      And what time would that be?
21                      THE COURT:     Well, let's find out if it's
22     going to work first.
23                      MR. HABER:     I have a mediation that day,
24     Your Honor, but what time, and I will break out and either
25     appear by phone or in person?


                    OUELLETTE & MAULDIN COURT REPORTERS, INC.
                                  (305) 358-8875
                                                                          79
Case 1:17-cv-24127-DPG Document 45 Entered on FLSD Docket 05/14/2018 Page 80 of 84


                                                                          Page 20
 1                      THE COURT:     Well, what works best for you,
 2     morning or afternoon?
 3                      MR. HABER:     I would either want it first
 4     thing in the morning at nine o'clock or at the end --
 5     towards the end of the day --
 6                      THE COURT:     All right.     How about
 7     three o'clock?
 8                      MR. HABER:     -- or first thing after lunch.
 9                      THE COURT:     How about three o'clock on the
10     30th, does that work?
11                      MR. HABER:     That's fine.
12                      THE COURT:     Does that work for you,
13     Mr. Langley?
14                      MR. LANGLEY:      Yes, Judge, that's terrific.
15     Thank you.
16                      THE COURT:     All right.     So then we're set to
17     30 May ---
18                      ECRO:    Your Honor, you have an evidentiary
19     hearing at three o'clock.
20                      THE COURT:     Oh, I do?     Hold on, and well,
21     then ---
22                      ECRO:    We can do the eleven o'clock, if the
23     attorneys are available.
24                      MR. LANGLEY:      Would two o'clock work?
25                      THE COURT:     Would two o'clock work,


                    OUELLETTE & MAULDIN COURT REPORTERS, INC.
                                  (305) 358-8875
                                                                          80
Case 1:17-cv-24127-DPG Document 45 Entered on FLSD Docket 05/14/2018 Page 81 of 84


                                                                          Page 21
 1     Mr. Haber?
 2                      MR. HABER:     Yes.
 3                      THE COURT:     Do you think we can get it done
 4     in an hour?
 5                      MR. LANGLEY:      Yes.
 6                      THE COURT:     Two o'clock.      Okay.
 7                      MR. HABER:     (Inaudible.)
 8                      THE COURT:     2:00 p.m., and Mr. Langley will
 9     draw that order subject to no objection by the
10     United States Trustee.
11                      MS. ARMENGOL:      No objection, Your Honor.
12                      THE COURT:     Very well.     Okay.    So that takes
13     care of that matter, and 563 is the amended plan, so now
14     they're together.
15                      Now, what else do we have to do here today?
16                      MR. LANGLEY:      That's it, Judge.
17                      THE COURT:     And Ms. United States Trustee,
18     anything to add?
19                      MS. ARMENGOL:      Johanna Armengol.       No,
20     Your Honor.
21                      THE COURT:     All right, and Mr. Haber?
22                      MR. HABER:     This is Mr. Haber.        I would just
23     like to be able to appear by phone on the 30th
24     (inaudible).
25                      THE COURT:     Well, that's -- no objection,


                    OUELLETTE & MAULDIN COURT REPORTERS, INC.
                                  (305) 358-8875
                                                                          81
Case 1:17-cv-24127-DPG Document 45 Entered on FLSD Docket 05/14/2018 Page 82 of 84


                                                                          Page 22
 1     and -- and you know how to do it, you're out there now.
 2                      MR. HABER:     Yes.    Thank you.
 3                      THE COURT:     How about Mister -- Mr. Grant,
 4     anything to add?
 5                      MR. GRANT:     Nothing to add, Your Honor.
 6     Thank you.
 7                      THE COURT:     Mr. Furr?
 8                      MR. FURR:     No, sir, Judge.      That time is
 9     fine with me.
10                      THE COURT:     Mr. Ramirez?
11                      MR. RAMIREZ:      Nothing, Judge.
12                      THE COURT:     Very well.     Then we'll adjourn
13     this hearing and we'll look forward to seeing you all on
14     the 30th at two o'clock.
15                      MR. LANGLEY:      Thank you, Judge.
16                      THE COURT:     If we don't do it then, we'll do
17     it in 2021 or 2023.
18                      Thank you all.
19                      (Thereupon, the hearing was concluded.)
20
21
22
23
24
25


                    OUELLETTE & MAULDIN COURT REPORTERS, INC.
                                  (305) 358-8875
                                                                          82
Case 1:17-cv-24127-DPG Document 45 Entered on FLSD Docket 05/14/2018 Page 83 of 84


                                                                          Page 23
 1
 2
 3                                CERTIFICATION
 4
 5     STATE OF FLORIDA           :
 6     COUNTY OF MIAMI-DADE       :
 7
 8                      I, Margaret Franzen, Court Reporter and
 9     Notary Public in and for the State of Florida at Large, do
10     hereby certify that the foregoing proceedings were
11     transcribed by me from a digital recording held on the
12     date and from the place as stated in the caption hereto on
13     Page 1 to the best of my ability.
14                      WITNESS my hand this 11th day of May 2018.
15
16
17                      ______________________________
18                               MARGARET FRANZEN
19                    Court Reporter and Notary Public
                  in and for the State of Florida at Large
20                         Commission #GG187411
                               April 14, 2022
21
22
23
24
25


                    OUELLETTE & MAULDIN COURT REPORTERS, INC.
                                  (305) 358-8875
                                                                          83
Case 1:17-cv-24127-DPG Document 45 Entered on FLSD Docket 05/14/2018 Page 84 of 84



                           CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that a true and correct copy of foregoing was served
   via CM/ECF, email or U.S. Mail to the parties on the attached service list as
   indicated on this 14th day of May 2018.


                                        /s/ Astrid E. Gabbe
                                        The Law Office of Astrid E. Gabbe, P.A.
                                        Florida Bar No. 635383
                                        P.O. Box 4216
                                        Hollywood, FL 33083
                                        Tel. (954) 303-9882
                                        Fax. (954) 983-1427
                                        astridgabbe@gmail.com
                                        Attorneys for NLG, LLC

                                   SERVICE LIST

   Via CM/ECF/Email

   Joe M. Grant, Esq. on behalf of Plaintiff Selective Advisors Group, LLC
   jgrant@msglaw.com, efile@msglaw.com;
   mg197ecfbox@gmail.com;sleary@msglaw.com

   David W. Langley on behalf of Plaintiff and Counter-Defendant Liza Hazan
   dave@flalawyer.com, emily@flalawyer.com;monica@flalawyer.com




                                                                              84
